      Case 3:25-cv-01047-JSC         Document 1      Filed 01/31/25     Page 1 of 50



 1   R. Brent Wisner (SBN: 276023)
     rbwisner@wisnerbaum.com
 2   Monique Alarcon, Esq. (SBN: 311650)
 3   malarcon@wisnerbaum.com
     Pedram Esfandiary (SBN: 312569)
 4   pesfandiary@wisnerbaum.com
     Mayra Maturana (SBN: 346539)
 5   mmaturana@wisnerbaum.com
     WISNER BAUM, LLP
 6   11111 Santa Monica Blvd., Suite 1750
 7   Los Angeles, CA 90025
     Tel: (310) 207-3233
 8   Fax: (310) 820-7444

 9   Counsel for Plaintiff
10                           UNITED STATES DISTRICT COURT
11                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
12

13   IN RE: BABY FOOD PRODUCTS                           Case No. 24-MD-3101-JSC
     LIABILITY LITIGATION
14                                                       MDL 3101
     This Document Relates To:
15
                                                         Hon. Jacqueline Scott Corley
16   DANIELLE M. GILMORE, on Behalf of H.G, A
     MINOR,                                              COMPLAINT AND JURY
17                                                       DEMAND
                  Plaintiff,
18         v.                                            Case no.:    3:25-cv-1047
19
     Campbell Soup Company, Gerber Products
20   Company, Hain Celestial Group, Inc., Nestlé S.A.,
     Plum, PBC, Sun-Maid Growers of California,
21   Walmart, Inc., and DOES 1 through 10 inclusive
22                Defendants.
23

24

25

26
27

28
                                                   -1-
                                        COMPLAINT AND JURY DEMAND
      Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25       Page 2 of 50



 1                                           INTRODUCTION

 2          1.      Defendants knowingly sold baby food products contaminated with lead, arsenic,

 3   mercury, cadmium, and aluminum (collectively “Toxic Heavy Metals”). They did this knowing

 4   that Toxic Heavy Metals, when consumed by babies, are known to cause brain damage and

 5   neurodevelopmental harm. Thus, to the extent Defendants sold baby food that contained

 6   detectible amounts of Toxic Heavy Metals (collectively “Contaminated Baby Food”) those

 7   products were defective in their manufacture, design, and labeling. Babies are the most

 8   vulnerable segment of the population, and they rely on that food for healthy neurodevelopment.

 9   Defendants justify this callous disregard for the welfare of babies because, until recently, there

10   were no regulations governing the presence of Toxic Heavy Metals in baby foods—and,

11   because there were no regulations, they were free to do as they pleased.

12          2.      This lawsuit aims to stop Defendants from poisoning infants with Contaminated

13   Baby Food. Baby food should be safe. It should not be contaminated with Toxic Heavy

14   Metals. Period. By sourcing ingredients from farms that have non-detectable levels of heavy

15   metal (using sufficiently sensitive testing), avoiding certain ingredients all together, and

16   systematically testing and screening finished products for Toxic Heavy Metals before the foods

17   are released for consumption, these Defendants would be able to provide baby food products

18   free of detectable levels of Toxic Heavy Metals. And, if some levels are truly unavoidable, or if

19   Defendants believe the identified levels are safe, then, at the very least, Defendants must warn

20   parents/guardians/caregivers about the presence of these Toxic Heavy Metals so they can make
21   informed decisions about what they are feeding their baby. Anything short of proper design,

22   manufacture, and warning, is unacceptable—especially for an industry that touts itself as

23   providing the most important sources of neurodevelopment for the most vulnerable population

24   of society.

25          3.      Plaintiff, here, lives with brain injuries and neurodevelopmental harm caused by

26   exposure to the Defendants’ Contaminated Baby Food, which has manifested in a diagnosis of
27   autism spectrum disorder (“ASD”). Plaintiff’s parents were never warned that the Defendants’

28   food contained Toxic Heavy Metals and, thus, were never able to make an informed decision
                                                  -2-
                                          COMPLAINT AND JURY DEMAND
        Case 3:25-cv-01047-JSC        Document 1        Filed 01/31/25      Page 3 of 50



 1   about whether to feed their babies Defendants Contaminated Baby Foods. The consequences

 2   are stark—there is an unprecedented epidemic of ASD and ADHD spreading throughout the

 3   American population, driven, in part, by the systematic neurodevelopmental poisoning of

 4   infants from these Defendants’ Contaminated Baby Foods.

 5           4.     This case seeks to hold the Defendants accountable for their reprehensible

 6   conduct by compensating Plaintiff who was harmed by the Defendants’ Contaminated Baby

 7   Foods, and ensure each Defendant is punished to deter such conduct in the future.

 8                                               PARTIES

 9 I.        Plaintiffs

10           5.     Plaintiff is a child who lives with brain injuries and neurodevelopmental harm

11   caused by exposure to the Defendants’ Contaminated Baby Food, which has manifested in a

12   diagnosis of ASD.

13           6.     Plaintiff consumed baby foods manufactured and/or sold by Gerber Products

14   Company, Hain Celestial Group, Inc., and Plum, PBC.

15           7.     Plaintiff consumed baby foods sold by Walmart, Inc.

16           8.     The baby foods manufactured by Defendant Gerber and consumed by Plaintiff

17   were manufactured at the direction of, and/or under the control of, and/or according to the

18   specification of, and/or with input from the parent company, Nestlé S.A.

19           9.     The baby foods manufactured by Defendant Plum and consumed by Plaintiff

20   were manufactured at the direction of, and/or under the control of, and/or according to the
21   specification of, and/or with input from the parent company, Campbell Soup Company, and Sun

22   maid Sun-Maid Growers of California.

23           10.    Plaintiff alleges that as a direct and proximate result of Plaintiff’s exposure to

24   Toxic Heavy Metals from consumption of Defendants’ Contaminated Baby Foods, they

25   suffered significant harm, conscious pain and suffering, physical injury and bodily impairment

26   including, but not limited to, brain injury manifesting as the neurodevelopmental disorder ASD,
27   other permanent physical deficits, permanent bodily impairment, and other sequelae. Plaintiff’s

28   injuries required medical intervention to address the adverse neurological effects and damage
                                                    -3-
                                          COMPLAINT AND JURY DEMAND
       Case 3:25-cv-01047-JSC          Document 1        Filed 01/31/25      Page 4 of 50



 1   caused by exposure to Toxic Heavy Metals in Defendants’ Contaminated Baby Foods.

 2   Additionally, Plaintiff has suffered severe mental and physical pain, including but not limited

 3   to, pain, mental suffering, loss of enjoyment of life, disfigurement, physical impairment,

 4   inconvenience, grief, anxiety, humiliation, and emotional distress and has and will sustain such

 5   injuries, along with economic loss due to medical expenses and living-related expenses as a

 6   result of lifestyle changes, into the future, as determined by the Trier of Fact.

 7          11.     The product warnings for the Contaminated Baby Foods in effect during the time

 8   period Plaintiff consumed the Contaminated Baby Foods were non-existent, vague, incomplete

 9   and/or otherwise inadequate, both substantively and graphically, to alert consumers to the

10   presence of Toxic Heavy Metals in the Contaminated Baby Foods and/or the potentially severe

11   health risks associated with Toxic Heavy Metal exposure in babies. Thus, each Defendant did

12   not provide adequate warnings to consumers including Plaintiff, their parents, and the general

13   public about the presence of Toxic Heavy Metals in the Contaminated Baby Foods consumed

14   by Plaintiffs and the potential risk of the serious adverse events associated with Toxic Heavy

15   Metal exposure in infancy.

16          12.     Had Plaintiff or their parents been adequately warned by the Defendants of the

17   potential for exposure to Toxic Heavy Metals from consumption of Defendants’ Baby Foods,

18   and/or the potential for such exposure to result in harm, Plaintiff, or their parents would not

19   have purchased, used and/or consumed Contaminated Baby Foods or would have taken other

20   steps to potentially mitigate the harm caused by exposing a baby to Toxic Heavy Metals.
21   II.    Defendants

22          13.     The following are the Defendants listed in this Complaint. In alphabetical order:

23                  1. Campbell Soup Company (“Campbell”)

24                  2. Gerber Products Company (“Gerber”)

25                  3. Hain Celestial Group, Inc. (“Hain”)

26                  4. Nestlé S.A. (“Nestlé”)
27                  5. Plum, PBC (“Plum”)

28                  6. Sun-Maid Growers of California (“Sun-Maid”)
                                                -4-
                                          COMPLAINT AND JURY DEMAND
      Case 3:25-cv-01047-JSC            Document 1        Filed 01/31/25     Page 5 of 50



 1                   7. Walmart, Inc. (“Walmart”)

 2           14.     Defendant Gerber Products Company (“Gerber”) is a citizen of Michigan and

 3   Virginia with its principal place of business located at 1812 N. Moore Street, Arlington,

 4   Virginia 22209. Gerber sells Baby Foods under the brand name Gerber. Gerber organizes its

 5   products into broad categories of “formula,” “baby cereal,” “baby food,” “snacks,” “meals &

 6   sides,” “beverages,” and “organic.” At all relevant times, Gerber has conducted business and

 7   derived substantial revenue from its manufacturing, labeling, advertising, distributing, selling,

 8   and marketing of baby foods.

 9           15.     Defendant Nestlé is a citizen of Switzerland, with its principal place of business

10   located at Avenue Nestlé 55, 1800 Vevey, Switzerland. Nestlé is a global food and beverage

11   company with more than 2,000 brands. Nestlé sells baby foods under its subsidiary, Gerber.

12   Employees and scientists at Nestlé trained and set safety standards at Gerber. Indeed, in

13   discovery ongoing in other litigation, Gerber specifically identified scientists at Nestlé to testify

14   on behalf of Gerber regarding the safety of Gerber’s baby food products. Nestlé, thus, has been

15   directly involved in the tortious conduct in the United States and its various states that gives rise

16   to these lawsuits. At all relevant times, Nestlé conducted business and derived substantial

17   revenue through Gerber by manufacturing, advertising, distributing, selling, and marketing baby

18   foods within the judicial districts involved in this litigation.

19           16.     The relationship between Gerber and Nestlé was formed in 2007. Prior to that,

20   starting in 1994, Gerber was owned and operated by Novartis, one of the largest pharmaceutical
21   companies in the world. However, in 2007, Gerber was sold to Nestlé for $5.5 billion.

22           17.     For the purposes of this Complaint, unless specifically stated otherwise, Nestlé

23   shall be referred to as “Nestlé.” Further, allegations related to Gerber apply equally to Nestlé, as

24   each Defendant exercised authority and control over the sale, manufacture, and distribution of

25   Gerber’s Contaminated Baby Foods at issue in this MDL.

26           18.     The Hain Celestial Group, Inc. (“Hain”) is a citizen of Delaware and New York
27   with its principal place of business located at 1111 Marcus Ave., Lake Success, New York

28   11042. Hain sells baby foods under the brand name Earth’s Best Organics. Hain offers infant
                                                 -5-
                                           COMPLAINT AND JURY DEMAND
      Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25     Page 6 of 50



 1   and baby formula and foods as well as toddler foods covering products from “organic infant

 2   cereal” to “organic snacks for toddlers and kids on the go.” At all relevant times, Hain has

 3   conducted business and derived substantial revenue from its manufacturing, advertising,

 4   distributing, selling, and marketing of Baby Foods within this judicial district and throughout

 5   the United States.

 6          19.     Defendant Plum, PBC (“Plum”) is a citizen of Delaware and California with its

 7   principal place of business located at 6795 N. Palm Ave., 2nd Floor, Fresno, California 93704.

 8   Plum sells Baby Foods under the brand name “Plum Organics” and has done so since 2007.

 9   Starting in 2013, and until May 3, 2021, Plum was directly controlled and owned by Defendant

10   Campbell. Plum’s products are divided into groups according to the targeted infant or toddler

11   age and/or type of food product. For example, there are five groups designated for the youngest

12   infants: Stage 1 (4+ months old), Stage 2 (6+ months old), Stage 3 (6+ months old), “Super

13   Puffs,” and “Little Teethers.” At all relevant times, Plum has conducted business and derived

14   substantial revenue from its manufacturing, advertising, distributing, selling, and marketing of

15   baby foods within this judicial district and throughout the United States.

16          20.     Defendant Campbell Soup Company (“Campbell”) is a Citizen of New Jersey

17   with its principal place of business located at One Campbell Pl., Camden, New Jersey 08103.

18   Campbell sells food and beverages and was the parent company of Plum until May 3, 2021,

19   wherein Campbell sold Plum to Defendant Sun-Maid, a few months after the first heavy metal

20   lawsuits were filed. Campbell sold baby food under the brand name Plum Organics through
21   Plum. Indeed, many of the scientists and researchers that monitored the safety of Toxic Heavy

22   Metals in Plum’s baby foods were directly employed by Campbell or were directly controlled

23   and trained by Campbell agents and employees. For example, it was Campbell’s attorneys that

24   responded to Congressional inquiries about heavy metals in Plum baby foods in 2019.

25   Campbell exercised control over Plum’s baby food selling in the United States until May 3,

26   2021. At all relevant times, Campbell conducted business and derived substantial revenues
27   from its manufacturing, advertising, distributing, selling, and marketing of baby foods within

28   this judicial district and throughout the United States.
                                                      -6-
                                          COMPLAINT AND JURY DEMAND
      Case 3:25-cv-01047-JSC          Document 1       Filed 01/31/25      Page 7 of 50



 1           21.      Defendant Sun-Maid Growers of California (“Sun-Maid”) is a citizen of

 2   California with its principal place of business located at 6795 N. Palm Ave., Fresno, California

 3   93711. Sun-Maid sold baby food through Plum, starting on May 3, 2021. Sun-Maid acquired

 4   Plum from Campbell on May 3, 2021. Sun-Maid has since been directly involved with all

 5   aspects of the safety and testing of Plum’s baby food products. For example, metal testing is

 6   paid for directly and sent directly to Sun-Maid’s scientists and executives, not directly to Plum.

 7   All major executive functions related to Plum’s operation were specifically transitioned from

 8   Campbell to Sun-Maid. Like Campbell, Sun-Maid has exercised and continues to exercise

 9   direct control over the manufacture, sale, and distribution of all Plum baby foods since May 3,

10   2021. At all relevant times, Sun-Maid conducted business and derived substantial revenue from

11   its manufacturing, advertising, distributing, selling, and marketing of Baby Foods within this

12   judicial district.

13           22.      For the purposes of this Complaint, allegations related to Plum between 2013

14   and May 3, 2021 apply equally to Campbell, unless otherwise specified, and allegations related

15   to Plum after May 3, 2021 apply equally to Sun-Maid, as each Defendant exercised authority

16   and control over the sale, manufacture, and distribution of Plum’s Contaminated Baby Foods at

17   issue in this MDL.

18           23.      Defendant Walmart, Inc. (“Walmart”) is a citizen of Delaware and Arkansas

19   with its principal place of business located at 702 S.W. 8th St. Bentonville, Arkansas 72716.

20   Walmart sells Baby Foods under the private label brand “Parent’s Choice.” The foods are
21   manufactured by co-manufacturers, but are sold under Walmart’s private label using Walmart’s

22   name. Walmart’s Parent’s Choice offers a wide selection of baby foods ranging from “sweet

23   potatoes & corn” to “toddler cookies” and “yogurt bites”. At all relevant times, Walmart has

24   conducted business and derived substantial revenue from its manufacturing, advertising,

25   distributing, selling, and marketing of Baby Foods within this judicial district and throughout

26   the United States.
27

28
                                                    -7-
                                         COMPLAINT AND JURY DEMAND
      Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25      Page 8 of 50



 1                                     JURISDICTION AND VENUE

 2           24.    Plaintiff(s) file this Complaint pursuant to CMO No. 5, and are to be bound by

 3   the rights, protections, and privileges, and obligations of that CMO and other Order of the

 4   Court. Further, in accordance with CMO No. 5, Plaintiff(s) hereby designate the United States

 5   District Court for the Middle District of Florida as Plaintiff’s designated venue (“Original

 6   Venue”). Plaintiff makes this selection based upon one (or more) of the following factors

 7   (check the appropriate box(es))

 8           _ X _ Plaintiff currently resides in Bradenton, FL.

 9           _ X _ Plaintiff purchased and consumed Defendant(s) products in Florida.

10           ____The Original Venue is a judicial district in which Defendant _______ resides, and

11           all Defendants are residents of the State in which the district is located (28 U.S.C.

12           1391(b)(1)).

13           _X_ The Original Venue is a judicial district in which a substantial part of the events or

14           omissions giving rise to the claim occurred, specially (28 U.S.C. 1391 (b)(2)):

15           _____There is no district in which an action may otherwise be brought under 28 U.S.C.

16           1391, and the Original Venue is a judicial district in which Defendant _____ is subject

17           to the Court’s personal jurisdiction with respect to this action (28 U.S.C. 1391 (b)(3)).

18           _____ Other reason (please explain): _______________________________________

19           25.    As an MDL transferee court, this Court has subject matter and personal

20   jurisdiction to the same extent as the respective transferee courts do. In general, federal courts
21   have subject matter jurisdiction over this action under 28 U.S.C. § 1332(d) because Plaintiffs

22   are citizens of states other than states where Defendants are citizens. In addition, Plaintiff seeks

23   damages in excess of $75,000, exclusive of interest and costs.

24           26.    This Court has personal jurisdiction over Defendants because their significant

25   contacts related to this litigation in each State make personal jurisdiction proper over any of

26   them.
27           27.    In particular, this Court has personal jurisdiction over Defendants for cases filed

28   in this District insofar as Defendants are authorized and licensed to conduct business in the
                                                      -8-
                                          COMPLAINT AND JURY DEMAND
      Case 3:25-cv-01047-JSC             Document 1         Filed 01/31/25     Page 9 of 50



 1   State of California, maintain and carry on systematic and continuous contacts in this judicial

 2   district, regularly transact business within this judicial district, and regularly avail themselves of

 3   the benefits of this judicial district.

 4           28.      Additionally, Defendants caused tortious injury by acts and omissions in this

 5   judicial district and caused tortious injury in this district by acts and omissions outside this

 6   district while regularly doing and soliciting business, engaging in a persistent course of conduct,

 7   and deriving substantial revenue from goods used or consumed and services rendered in this

 8   judicial district.

 9           29.      Nestlé is subject to personal jurisdiction in the relevant judicial districts insofar

10   as they are authorized and licensed to conduct business in their respective states. Additionally,

11   these Defendants maintain and carry on systematic and continuous contacts in these judicial

12   districts, regularly transact business within these districts, and regularly avail themselves of the

13   benefits of these districts. These Defendants caused tortious injury by acts and omissions in

14   these judicial districts and by acts and omissions outside these districts while regularly doing

15   and soliciting business, engaging in a persistent course of conduct, and deriving substantial

16   revenue from goods used or consumed and services rendered in these districts.

17                                       FACTUAL ALLEGATIONS

18   I.      Rising Concerns Regarding the Presence of Toxic Heavy Metals in Baby Foods

19           30.      In October 2019, an alliance of nonprofit organizations, scientists and donors

20   named “Happy Babies Bright Futures” (“HBBF”), dedicated to designing and implementing
21   “outcomes-based programs to measurably reduce babies’ exposures to toxic chemicals,”

22   published a report investigating the presence of Toxic Heavy Metals in baby foods. The HBBF

23   Report tested 168 different baby foods sold on the U.S. market and concluded that “[n]inety-

24   five percent of baby foods tested were contaminated with one or more of four toxic heavy

25   metals—arsenic, lead, cadmium and mercury. All but nine of 168 baby foods contained at least

26   one metal; most contained more than one.” Specifically, the HBBF report identified “puffs and
27   other snacks made with rice flour,” “[t]eething biscuits and rice rusks,” “infant rice cereal,”

28   “apple, pear, grape and other fruit juices,” and “carrots and sweet potatoes” manufactured by
                                                      -9-
                                               COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1        Filed 01/31/25       Page 10 of 50



 1   the Defendants as particularly high in Toxic Heavy Metals.

 2          31.     The results of the HBBF report were consistent with that of the U.S. Food and

 3   Drug Administration (“FDA”) which had, in 2017, detected one or more of the four Toxic

 4   Heavy Metals in 33 of 39 types of baby food tested. However, the HBBF reported that “[f]or

 5   88 percent of baby foods tested by HBBF—148 of 168 baby foods—FDA has failed to set

 6   enforceable limits or issue guidance on maximum safe amounts.” The HBBF’s findings were

 7   by no means an outlier. Eight months prior to publication of the HBBF report, a study

 8   conducted by scientists at the University of Miami and the Clean Label Project “examined

 9   lead…concentrations in a large convenience sample of US baby foods.” The study detected

10   lead in 37% of samples.

11          32.     Moreover, earlier in 2017, HBBF commissioned a study to evaluate the presence

12   of arsenic in infant rice cereal products sold in the U.S., and the potential risks to children’s

13   neurodevelopment posed by contamination levels. The findings were concerning. The authors

14   concluded that “exposures to arsenic from infant rice cereal approach or exceed existing health-

15   based limits for arsenic levels…leaving little room for additional exposures from other dietary

16   sources, such as snacks, apple juice, and drinking water…Our analyses of arsenic exposures

17   from infant rice cereal during the first year of life suggest that these exposures are not

18   insignificant, and may place infants at risk for adverse health effects.”

19   II.    Congressional Investigation Finds Substantial Presence of Heavy Metals in Baby
            Foods Manufactured and/or Sold by Defendants, Sparking National Outrage
20
21          33.     On February 4, 2021, and September 29, 2021, respectively, the U.S. House of

22   Representatives’ Subcommittee on Economic and Consumer Policy, Committee on Oversight

23   and Reform, published two reports detailing its findings that Toxic Heavy Metals—including

24   lead, arsenic, mercury, and cadmium—were present in “significant levels” in numerous

25   commercial Baby Food Products. Four companies—Hain, Gerber (Nestlé), Nurture (Danone),

26   and Beech-Nut—produced internal testing policies, test results for ingredients and finished

27   products, and documentation about what the companies did with ingredients and/or finished

28   products that exceeded their internal testing limits. Three companies—Plum (Campbell),
                                                      - 10 -
                                           COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1        Filed 01/31/25      Page 11 of 50



 1   Walmart, and Sprout—initially refused to cooperate.

 2          34.     Congress reported that the data submitted by the companies unequivocally

 3   revealed that a substantial number of Defendants’ finished products and/or ingredients used to

 4   manufacture the Baby Foods are tainted with Toxic Heavy Metals, namely lead, arsenic,

 5   mercury, and cadmium. And, where the Defendants did set internal limits for the amount of

 6   metals they allowed in their foods, Defendants routinely flouted their own limits and sold foods

 7   that consistently tested above their limits. Congress found the following:

 8          35.     Gerber. Gerber along with Nestlé used high-arsenic ingredients, using 67

 9   batches of rice flour that had tested over 90 ppb inorganic arsenic. Nestlé and Gerber used

10   ingredients that tested as high as 48 ppb lead; and used many ingredients containing over 20

11   ppb lead. Nestlé and Gerber rarely test for mercury in their baby foods. In the September 2021

12   follow-up Congressional report, it was revealed that Nestlé and Gerber’s rice cereal tested up to

13   116 ppb inorganic arsenic, and their average rice cereal product contained 87.43 ppb inorganic

14   arsenic, which is even higher than the amount contained in Beech-Nut’s average rice cereal

15   product. While Beech-Nut recalled some of its products and completely discontinued sales of

16   its rice cereal, Nestlé and Gerber have taken no such actions to protect children.

17          36.     Hain (Earth’s Best Organic).           Hain sold finished baby food products

18   containing as much as 129 ppb inorganic arsenic. Hain typically only tested its ingredients, not

19   finished products. Documents show that Hain used ingredients testing as high as 309 ppb

20   arsenic.   Hain used ingredients containing as much as 352 ppb lead.            Hain used many
21   ingredients with high lead content, including 88 that tested over 20 ppb lead and six that tested

22   over 200 ppb lead. And, Hain does not even test for mercury in its baby food. However,

23   independent testing by HBBF of Hain’s Baby Foods confirm that Hain’s products contain as

24   much as 2.4 ppb of mercury.

25          37.     Plum. Plum, along with Campbell, refused to cooperate with the Congressional

26   investigation. Instead of producing any substantive information, Campbell provided Congress
27   with a self-serving spreadsheet declaring that every one of its products sold through Plum

28   “meets criteria”, while declining to state what those criteria were. Disturbingly, Campbell
                                                 - 11 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1       Filed 01/31/25      Page 12 of 50



 1   admitted that, for mercury (a powerful neurotoxin), Campbell and Plum have no criterion

 2   whatsoever, stating: “No specific threshold established because no high-risk ingredients are

 3   used.” However, despite Campbell and Plum having no mercury threshold, Campbell and Plum

 4   still marked every food as “meets criteria” for mercury. Congress noted that “[t]his misleading

 5   framing—of meeting criteria that do not exist—raises questions about what [Plum’s] other

 6   thresholds actually are, and whether they exist.” This suspicion is confirmed by HBBF’s

 7   independent testing which confirms the presence of Toxic Heavy Metals in Campbell and Plum

 8   Baby Food, which found excess levels of lead, arsenic, and mercury in Campbell and Plum’s

 9   Just Sweet Potato Organic Baby Foods; Just Peaches Organic Baby Food; Just Prune Organic

10   Baby Food; Pumpkin Banana Papaya Cardamom; Apple, Raisin & Quiona Organic Baby Food;

11   Little Teethers Organic Multigrain Teething Wafers-Banana with Pumpkin; and Mighty

12   Morning Bar-Blueberry Lemon-Tots. Furthermore, as discussed further below, based upon

13   information and belief, Plaintiffs submit that Campbell and Plum’s pattern and practice of

14   failing to test ingredients, willingly flouting their own internal standards, and selling products

15   notwithstanding internal acknowledgement of their high metal content, follows that of the other

16   Defendants discussed in this Complaint, and discovery here will further flesh out the extent of

17   Campbell and Plum’s culpable conduct.

18          38.     Walmart. Walmart refused to cooperate with the House Subcommittee’s

19   investigation into its baby foods products, and as such, the Subcommittee was “greatly

20   concerned” that Walmart “might be obscuring the presence of higher levels of toxic metals in
21   their baby food products.” The Subcommittee noted that independent data from the HBBF

22   Report confirmed that Walmart’s baby foods are indeed tainted. For example, the HBBF Report

23   observed that one of Walmart’s products contained 56.1 ppb total arsenic, and 26.1 ppb cadium.

24   Another product contained 108 ppb total arsenic, 66 ppb inorganic arsenic, 26.9 ppb lead, and

25   2.05 ppb mercury.

26          39.     Following the publication of the Subcommittee Report, Walmart provided
27   documents to the Subcommittee. On September 29, 2021, the House Subcommittee released a

28   subsequent report entitled “New Disclosures Show Dangerous Levels of Toxic Heavy Metals in
                                                  - 12 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1        Filed 01/31/25      Page 13 of 50



 1   Even More Baby Foods.” The Subcommittee report addendum described the documents from

 2   Walmart as “revealing a concerning lack of attention to toxic heavy metal levels in baby food

 3   and an abandonment of its previously more protective standards.” Walmart does not appear to

 4   conduct any testing of its baby food products. Walmart sets maximum arsenic and lead levels

 5   and asks the manufacturer of its private label to self-certify, but Walmart does not appear to

 6   collect any test data or check the accuracy of those certifications. Walmart does not require any

 7   mercury or cadmium testing and does not set any standards for mercury or cadmium levels.

 8          40.     The metal concentrations discussed above and further below surpass the limits

 9   allowed by U.S. regulatory agencies. There are no FDA final regulations governing the

10   presence of Toxic Heavy Metals in the majority of Baby Foods with the exception of 100 ppb

11   inorganic arsenic in infant rice cereal and proposed (not yet final) limits for lead in certain baby

12   food categories. To the extent such regulations exist, the quantities of Toxic Heavy Metals in

13   Defendants’ Baby Foods exceed any permissible FDA levels. To be sure, the FDA has set the

14   maximum contaminant levels (“MCL”) in bottled water at 10 ppb inorganic arsenic, 5 ppb lead,

15   and the EPA has capped the allowable level of mercury in drinking water at 2 ppb. However,

16   these limits were created in reference to adult exposure, not infants. Compared to these

17   thresholds, the test results of the Defendants’ baby foods and their ingredients are multiple folds

18   greater than the permitted metal levels. Moreover, compounding these troubling findings, the

19   Defendants set internal limits for the presence of Toxic Heavy Metals in their foods that were,

20   themselves, dangerously high and then routinely failed to abide by those inadequate standards,
21   as discussed below.

22          41.     As Congress observed, the Defendants have willfully sold—and continue to

23   sell—contaminated Baby Foods notwithstanding their full awareness of these unacceptably high

24   levels of Toxic Heavy Metals in their products.

25   III.   Defendants Engaged in a Pattern and Practice of Selling Contaminated Baby
            Foods and Failed to Reduce Metal Levels
26
27          42.     Several factors drive the Toxic Heavy Metal contamination of Defendants’ baby

28   foods, all of which are within Defendants’ control.
                                                     - 13 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25      Page 14 of 50



 1          43.     First, at various times, all Defendants sourced ingredients that contained

 2   elevated levels of Toxic Heavy Metals. These ingredients were then used to manufacture the

 3   baby foods consumed by Plaintiffs, thereby exposing Plaintiffs to Toxic Heavy Metals that

 4   cause brain damage and other neurodevelopmental harm. One way for Defendants to “deal”

 5   with this issue involved relegating any testing of Toxic Heavy Metals to suppliers and co-

 6   manufacturers, who were required to certify that Toxic Heavy Metals were below a certain

 7   threshold. Defendants would audit those results, discover that the reported certifications were

 8   false or inaccurate, and then take no action to stop the use of those ingredients or finished

 9   products.

10          44.     Second, some Defendants implemented dangerously high internal limits

11   (“specifications” or “specs”) for the maximum level of Toxic Heavy Metals that Defendants

12   allowed in the baby foods. Such high limits—untethered to any consideration of the low levels

13   at which metals are capable of damaging babies’ brains—allowed Defendants to source and use

14   ingredients that contained elevated Toxic Heavy Metals to manufacture the baby foods

15   consumed by Plaintiffs. In the highly competitive and lucrative baby food market, using

16   contaminated ingredients allows each Defendant to retain greater market share.

17          45.     Third, some Defendants failed to implement any internal specifications for the

18   amount of Toxic Heavy Metals allowed in ingredients or finished baby foods. By simply not

19   looking at the issue, certain highly contaminated ingredients and finished products were allowed

20   to be used and sold to consumers. This would happen notwithstanding the Defendants’ specific
21   knowledge of the risk of Toxic Heavy Metals and their presence in ingredients and finished

22   products.

23          46.     Fourth, Defendants did not routinely adhere to their own internal metal

24   specifications or standards, allowing contaminated ingredients and finished products to be

25   released as “exceptional releases” or other simpler terminology. This resulted in ingredients

26   being used and baby foods manufactured and sold that contained levels of Toxic Heavy Metals
27   far higher than what was internally set by Defendants. In other instances, Defendants would

28   test products that had been put on the market after-the-fact, learn about the products containing
                                                    - 14 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25      Page 15 of 50



 1   extremely high levels of Toxic Heavy Metals, and then take no action to recall the product or

 2   warn consumers about the issue.

 3          47.     Fifth, upon information and belief, Defendants’ manufacturing practices also

 4   contributed to contamination. For example, the water used at some of the facilities where the

 5   baby foods were manufactured contained Toxic Heavy Metals which, in turn, ended up in the

 6   finished baby food product sold for consumption by babies.

 7          48.     Gerber. Gerber and Nestlé tested ingredients and, occasionally, finished

 8   products. However, while Gerber and Nestlé were the only Defendants to test both ingredients

 9   and finished products with any regularity, they set high heavy metal limits that rendered their

10   food unsafe. For baby foods generally, between 2012 and 2019, Gerber and Nestlé set a limit of

11   40 ppb for lead, 20 ppb for arsenic, and 10 ppb for mercury. For infant rice cereal, between

12   2012 and 2017, Gerber and Nestlé set a lead limit of 100 ppb, with a “target” of 50 ppb in 2016

13   and 2017. Between 2018 and 2019, Gerber and Nestlé set a lead limit for 50 ppb. For arsenic

14   in rice cereal, between 2012 and 2015, Gerber and Nestlé did not have a limit, merely a target of

15   100 ppb. Then, between 2016 and 2018, it set the arsenic limit at 100 ppb. By 2019, Gerber

16   and Nestlé increased the arsenic limit to 130 ppb for cereals with 90% rice (and kept the limit at

17   100 ppb for other cereals). For snack foods, Gerber and Nestlé had a lead limit of 150 ppb

18   between 2012 and 2014. It was reduced to 100 ppb in 2016 and 2017, and then went down to 50

19   ppb in 2018 and 2019. There was no limit for arsenic in snack food prior 2016, just a “target”

20   of 100 ppb. Then a 100-ppb arsenic limit was set starting in 2016. For both infant cereal and
21   snacks, Gerber and Nestlé imposed a 30-ppb limit for mercury in infant cereal between 2012

22   and 2016, and reduced it to 10 ppb from 2017 onward. With these exceptionally high limits,

23   Gerber and Nestlé sold baby foods that were dangerous for infant consumption. They did this

24   knowingly.

25          49.     Gerber and Nestlé would also audit and re-test Toxic Heavy Metal results

26   submitted by suppliers, and find that the certification from suppliers were incorrect or false.
27   Gerber and Nestlé would nonetheless use the certified results and release products despite the

28   ingredients not meeting specifications or being safe for infant consumption.
                                                    - 15 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1       Filed 01/31/25      Page 16 of 50



 1          50.     Gerber and Nestlé often used high-arsenic ingredients, for example, using 67

 2   batches of rice flour that had tested over 90 ppb inorganic arsenic. Furthermore, Gerber and

 3   Nestlé regularly sold baby food products testing over 100 ppb arsenic, at times reaching 116

 4   ppb, and their average rice cereal product contained 87.43 ppb inorganic arsenic. Indeed, this is

 5   why Congress noted that “Gerber’s organic rice cereal is dangerous…” In other instances,

 6   Gerber permitted as much as 300 ppb of arsenic in the rice flour ingredient used to manufacture

 7   its U.S. baby foods, notwithstanding the fact that Gerber often implemented stricter standards

 8   for baby foods sold in other countries.

 9          51.     Gerber’s baby foods are also contaminated with elevated levels of lead. Gerber

10   and Nestlé used ingredients that tested as high as 48 ppb lead and used many ingredients

11   containing over 20 ppb lead. Furthermore, Gerber and Nestlé sold baby food products testing at

12   and/or above 50 ppb of lead. Indeed, Gerber and Nestlé have historically permitted as much as

13   150 ppb lead in their baby food products. Although Gerber and Nestlé were fully aware that it

14   was very feasible to source lower-lead ingredients, they proceeded to use high-lead ingredients

15   in their baby foods. Gerber and Nestlé rarely test for mercury in their baby foods. This is

16   notwithstanding the fact that mercury is known to contaminate ingredients such as rice and

17   poses a severe risk to babies’ brain development.

18          52.     The February 4, 2021 Congressional Report found Gerber carrots tested for

19   cadmium at levels above 5 ppb, with some containing more than 87 ppb of cadmium. These are

20   exceptionally high levels.
21          53.     Moreover, compounding these troubling findings, Gerber and Nestlé historically

22   only tested certain ingredients of its baby food products and only occasionally tested the

23   finished products consumed by babies. It was not until recently that Gerber and Nestlé started

24   to implement finished product testing on a more regular basis.

25          54.     Gerber and Nestlé have known since at least the 1990s that inorganic arsenic was

26   neurotoxic and caused developmental issues. Despite this knowledge, in 2012, when Gerber’s
27   infant rice cereal was on the front page of a Consumer Report article on arsenic, a Gerber

28   spokesperson told the public that arsenic in baby food posed no health risk.
                                                    - 16 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1        Filed 01/31/25     Page 17 of 50



 1          55.     Hain. Hain did not test its baby food products for heavy metals until 2020 (rice

 2   cereal) and 2021 (other baby food). Instead, Hain tested some ingredients used in their foods

 3   (but not all ingredients). Ingredients were required to meet specific specifications for each

 4   specific ingredient. Those specifications, however, would change wildly without explanation.

 5   For example, prior to August 2014, Hain’s lead specification for Oat Flour was 200 ppb. Then

 6   it was reduced to 50 ppb for four months, went back up to 100 ppb for three months, went back

 7   up to 200 ppb for a month, came down to 20 ppb for seven months, went to 25 ppb for six

 8   months, and then went back to 200 ppb for the next fourteen months. When asked about this

 9   seemingly chaotic shifting of specifications, Hain could not explain it.

10          56.     Hain would routinely accept ingredients that tested above specifications and use

11   them in baby foods anyway. These “exceptional” releases were made because there were no

12   FDA regulations specifically preventing them.

13          57.     Because Hain only tested ingredients, and not finished products, they would

14   underestimate metal exposure. For example, in August 2019, the FDA did what Hain had

15   refused: it actually tested Hain’s baby food products for heavy metals. FDA sampled Hain’s rice

16   cereal and found levels in excess of 100 ppb. FDA tested 20 of Hain’s rice cereal products (all

17   manufactured by Beech-Nut for Hain) sold between September 2017 and June 2018, and found

18   9 samples in excess of 100 ppb of inorganic arsenic, and 16 (80%) above 90 ppb. The FDA

19   raised concern about Hain’s failure to test finished product, and asked Hain to conduct an

20   investigation. These concerns about Hain’s rice cereal were independently confirmed by HBBF,
21   where they found 113 and 107 ppb of inorganic arsenic (138 and 126 ppb of arsenic) in those

22   same products. As a result of the FDA-ordered investigation, Hain learned that its rice cereal

23   exceeded FDA arsenic levels because Hain never accounted for the arsenic added to the product

24   from the vitamin premix. Hain discovered that the vitamin premix specification was 3,000 ppb

25   for arsenic and 4,000 ppb for lead. They realized that their products needed to be tested in

26   finished form to actually estimate the levels of heavy metals in their foods. Hain also realized
27   that the use of brown rice was contributing to the high levels of arsenic, so, thereafter, they

28   started using white rice (as opposed to brown rice) to reduce arsenic levels and began testing
                                                 - 17 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1       Filed 01/31/25    Page 18 of 50



 1   rice cereal regularly.

 2           58.     Hain’s inept process of monitoring the safety of their baby foods resulted in

 3   products being sold that contained Toxic Heavy Metals, and this was done with full knowledge

 4   of the risks. When asked why Hain did not warn consumers of the Toxic Heavy Metals in their

 5   foods, Hain responded that if they warned, people would not buy their products.

 6           59.     Plum. Plum was founded in 2007 and has sold a wide variety of baby food

 7   products under the name Plum Organics since that time. Plum was owned and controlled by

 8   Campbell from roughly 2013 until roughly May 2021 when Plum was sold to Sun-Maid.

 9           60.     Despite Plum’s public facing statements that “little ones deserve the very best

10   food from the very first bite” and despite understanding that environmental toxins like heavy

11   metals can cause neurodevelopmental disorders in children, Plum and Campbell/Sun-Maid did

12   very little to ensure that the Plum baby food products marketed for consumption by children are

13   not contaminated with dangerous levels of heavy metals. For example, though Plum and

14   Campbell/Sun-Maid knew that the heavy metal contents of the ingredients used in its products

15   varied by growing region and supplier, they did not undertake an effort to source ingredients

16   with the lowest amount of heavy metals available.          And, despite knowing that certain

17   ingredients carry a higher risk for heavy metal contamination, Plum and Campbell/Sun-Maid

18   did not reformulate their products to ensure that they were being made with the lowest

19   achievable amount of heavy metals.

20           61.     Plum and Campbell failed to set limits on the amount of heavy metals that could
21   be present in Plum’s finished baby food products. From 2007 to at least April 2021, they did

22   not set any limits for the amount of lead, arsenic, mercury, cadmium, or aluminum that their

23   finished products could contain.

24           62.     Plum and Campbell also failed to set limits on the amount of heavy metals that

25   could be present in the ingredients used in Plum’s baby food products. Prior to 2016, they did

26   not set limits for the amount of heavy metals that could be present in the ingredients used in
27   Plum products. When Plum and Campbell did begin to implement heavy metal limits for Plum

28   ingredients (in or around 2017), it did so only for lead, arsenic, and cadmium. As of April
                                                  - 18 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1         Filed 01/31/25   Page 19 of 50



 1   2021, Plum and Campbell still had no limits for the amount of mercury and aluminum that

 2   could be in the ingredients used in their baby food products.

 3           63.     When Plum did set some heavy metal limits (for lead and arsenic for ingredients

 4   only) it set those limits several times in excess of what was achievable for most ingredients.

 5   For example, despite certain fruits and vegetables normally containing less than 5 ppb lead or

 6   arsenic, Plum set the heavy metal limits for all Plum ingredients for lead and arsenic at 100 ppb.

 7   And, even still, despite setting these limits dangerously high, Plum and Campbell/Sun-Maid still

 8   utilized ingredients that tested in excess of those limits.

 9           64.     Plum and Campbell/Sun-Maid also conducted very little oversight of their co-

10   manufacturers to ensure that the heavy metal limits for ingredients used in Plum products were

11   adhered to. For example, prior to 2017, Plum and Campbell did not require the ingredient

12   suppliers they contracted with to submit heavy metal testing data but instead relied on supplier

13   assurances that the ingredients did not contain heavy metals and/or complied with all

14   government regulations regarding heavy metals. When Plum and Campbell/Sun-Maid did

15   begin to require testing on some of the ingredients used in its products for lead and arsenic,

16   those efforts were scattershot and did not extend to all lots of all ingredients used in Plum baby

17   food products. Where verification testing was conducted on ingredients, it was often done in an

18   unaccredited lab.

19           65.     Despite not having a comprehensive ingredient testing program to ensure that

20   Plum food marketed for babies was not contaminated with Toxic Heavy Metals, Plum and
21   Campbell/Sun-Maid also did not conduct heavy metal testing on Plum products prior to sale.

22   Plum only first conducted finished product testing in the wake of public reports that exposed

23   Plum baby food products as being contaminated with dangerous levels of heavy metals. Upon

24   information and belief, no rigorous heavy metal testing program on ingredients and finished

25   product was ever implemented and Plum and Campbell/Sun-Maid continued and continue to

26   sell baby food contaminated with elevated levels of heavy metals without first testing to ensure
27   their safety.

28           66.     Walmart. Walmart sold baby food under a “private” brand called “Parent’s
                                                 - 19 -
                                           COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1        Filed 01/31/25      Page 20 of 50



 1   Choice”, which was manufactured by a different supplier but branded, promoted, and sold as a

 2   Walmart product. Walmart did not test it for Toxic Heavy Metals whatsoever. Instead, Walmart

 3   required certain specifications be met for the products provided by its suppliers, which included

 4   some limits of heavy metals. These specifications were not enforced in any way. Walmart did

 5   not require the submission of testing from suppliers, nor did it do any of its own testing.

 6          67.     The only efforts to police Toxic Heavy Metals in their Parent’s Choice baby food

 7   involved generic specifications for lead and arsenic—there were no other specifications or

 8   limits for other Toxic Heavy Metals—which for most baby food products resulted in there

 9   being no limits. The following chart reflects Walmart’s Toxic Heavy Metal specifications prior

10   to December 2018.

11

12   Type of Food                            Lead      Arsenic Mercury         Cadmium Aluminum
     Dry baby food with no juice or
                                             None      None       None         None         None
13   nectar
     Dry baby food with juice or nectar      50 ppb    23 ppb     None         None         None
14
     Wet baby food with no juice or
                                             None      None       None         None         None
15   nectar
     Wet baby food with juice or nectar      50 ppb    23 ppb     None         None         None
16   Yogurt baby food products               None      None       None         None         None
17
            68.     In December 2018, Walmart changed its specification to 100 ppb of inorganic
18
     arsenic for all dry baby foods, making the products even less safe. Thus, for the vast majority
19
     of Walmart’s baby food products, there was never a limit for any Toxic Heavy Metals.
20
     IV.    Defendants Abandon Efforts to Reduce Metal Levels in Baby Foods
21
            69.     In 2019, as concerns grew over contamination of certain baby foods on the U.S.
22
     market, a consortium of the Baby Food Manufacturers comprised of Defendants
23
     Plum/Campbell, Gerber, and Hain, as well as certain interested third party groups such as the
24
     Environmental Defense Fund (“EDF”) and HBBF, were formed with the intention “of reducing
25
     heavy metals in young children’s food.”
26
            70.     The consortium was named the Baby Food Council (“BFC”). The BFC involved
27
     the sharing of common testing data on the levels of metal contamination of Defendants’ baby
28
                                                    - 20 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1       Filed 01/31/25      Page 21 of 50



 1   foods, a grant to Cornell University to further study the issue, and a proposed “voluntary Baby

 2   Food Standard to limit the amounts of heavy metals in baby food.” The BFC specifically

 3   recognized the risk of neurodevelopmental harm caused by Toxic Heavy Metals to the

 4   developing brain of infants and that there were no safe levels of exposure.

 5          71.      The Baby Food Standard “would have provided companies with a common

 6   framework for progressively reducing contaminants by regularly testing products and

 7   improving management practices, and for being transparent with consumers about the safety of

 8   their products.”

 9          72.      After several years of negotiations and discussions, including a proposed system

10   for testing, the EDF and HBBF proposed voluntary limits of 1 ppb for lead. The baby food

11   companies, however, rejected the proposal outright. Participation in the BFC was little more

12   than a façade—they had no intention of self-regulating their products as it related to Toxic

13   Heavy Metals.

14          73.      This led EDF and HBBF to leave the BFC in protest in 2021. They explained

15   their departure publicly, noting that Defendants “all decided to backpedal on this project—even

16   though the standard was designed to protect babies’ brain development” and provide adequate

17   notice to consumers regarding the presence of Toxic Heavy Metals on Baby Food labeling.

18   EDF explained:

19          EDF cofounded the Council because we believed there was a shared commitment
            to reduce levels of lead, arsenic and cadmium in baby food products to better
20          protect children’s developing brains from these toxins … Unfortunately, the
            companies chose to cease the Council’s development of a voluntary Baby Food
21          Standard that it had begun in late 2020. The Standard would have provided
22          companies with a common framework for progressively reducing contaminants
            by regularly testing products and improving management practices, and for being
23          transparent with consumers about the safety of their products. Negotiations failed
            to provide an alternative approach that EDF felt was sufficient to drive down
24          levels of lead, arsenic and cadmium in baby food.”
25          74.      HBBF explained:
26          Healthy Babies Bright Futures is focused on tangibly reducing neurotoxic
            exposures to babies. The baby food companies’ refusal to jointly set limits for
27
            heavy metals in baby food has shown that the Council will no longer be the
28          powerful mechanism for this important work that the initial plans had promised.
            The baby food companies’ decision to stop progress on a voluntary standard for
                                                  - 21 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1       Filed 01/31/25      Page 22 of 50



 1          heavy metals in baby food is a disappointment … What started as dedication has
            turned into delay and intention has become inaction. So HBBF has decided to put
 2          our effort into other initiatives that will move the needle on this important issue.
 3          75.     In short, the Defendants opted to continue “self-regulating,” the same self-
 4   regulation which exposed—and continued to expose—Plaintiffs to Toxic Heavy Metals in
 5   Defendants’ baby foods.
 6
                  22. The Dangers of Toxic Heavy Metals and Metal Exposure Through
 7                       Consumption of Baby Foods

 8          76.     According to the World Health Organization (“WHO”), Toxic Heavy Metals,
 9   specifically lead, arsenic, mercury, and cadmium pose a “major public health concern” for
10   children. The Occupational Safety and Health Administration (“OSHA”) has warned that these
11   metals “may build up in biological systems and become a significant health hazard.” Indeed,
12   the Department of Health and Human Services’ Agency for Toxic Substances and Disease
13   Registry (“ATSDR”) ranks arsenic as number one among substances present in the environment
14   that pose the most significant potential threat to human health, followed by lead (second),
15   mercury (third), and cadmium (seventh).
16          77.     The threat presented by Toxic Heavy Metals to children’s health is widely shared
17   by the global regulatory and scientific community. For example, the FDA has set an Interim
18   Reference Level (“IRL”) of 2.2 micrograms/day for lead exposure through baby food products.
19   That is the amount of lead exposure at or above which the agency considers associated with
20   adverse neurodevelopmental effects in babies. The FDA, in its guidance documents for
21   inorganic arsenic and lead in baby food products has repeatedly acknowledged the dangers of
22   heavy metals to the neurodevelopment of infants.
23          Even low lead exposure can harm children’s health and development, specifically
24          the brain and nervous system. Neurological effects of lead exposure during early
            childhood include learning disabilities, behavior difficulties, and lowered IQ.
25          Lead exposures also may be associated with immunological, cardiovascular,
            renal, and reproductive and/or developmental effects…Because lead can
26          accumulate in the body, even low-level chronic exposure can be hazardous over
            time…Even though no safe level of lead exposure has yet been identified for
27          children's health, the IRL serves as a useful benchmark in evaluating the potential
28          for adverse effects of dietary lead. In particular, FDA is focused on the potential
            for neurodevelopmental effects from lead exposure, as review of the scientific
                                                     - 22 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25      Page 23 of 50



 1          literature indicates that such adverse effects of lead consistently occur at a blood
            lead level associated with FDA’s IRL for children. (emphasis added).
 2

 3          78.      As one recent study observed, “[t]he implications of heavy metals with regards
 4   to children’s health have been noted to be more severe compared to adults. The elements’
 5   harmful consequences on children health include mental retardation, neurocognitive disorders,
 6   behavioral disorders, respiratory problems, cancer and cardiovascular diseases. Much attention
 7   should be given to heavy metals because of their high toxicity potential, widespread use, and
 8   prevalence.” Children and, even more so, babies have higher exposure to metals compared to
 9   adults because they consume more food in relation to their body weight and absorb metals more
10   readily than adults by 40 to 90%.
11          79.      The mechanisms needed to metabolize and eliminate heavy metals are
12   comparatively undeveloped in childhood, with babies having weaker detoxifying mechanisms
13   and poorer immune systems than adults. For example, liver pathways that in adulthood
14   metabolize absorbed arsenic do not mature until mid-childhood; un-excreted arsenic thus
15   continues to circulate and is deposited in other organs. According to Linda McCauley, Dean of
16   the Nell Hodgson Woodruff School of Nursing at Emory University, who studies environmental
17   health effects, “[n]o level of exposure to these [heavy] metals has been shown to be safe in
18   vulnerable infants.”
19          80.      Thus, “the major windows of developmental vulnerability occur during infancy
20   and early childhood due to continuing brain development after birth.” In short, even small
21   amounts of exposure to Toxic Heavy Metals can have devastating health outcomes for babies
22   and children.
23   VI.    Exposure to Toxic Heavy Metals Has Been Consistently Associated with
24          Neurodevelopmental Harm, i.e., Autism and ADHD in Pediatric Populations

25          81.      It is well-known that exposure to Toxic Heavy Metals in early life can interfere

26   with neurodevelopment at exceedingly low levels of exposure. And, one of the ways in which

27   such interference with neurodevelopment can present in a child is in the form of the

28   neurodevelopmental disorders ASD and ADHD. As the U.S. Centers for Disease Control
                                                    - 23 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25      Page 24 of 50



 1   observed in its 2020 Toxicological Profile for Lead, at just ≤10 μg/dL: “The following

 2   neurobehavioral effects in children have been associated with [lead]: “Altered mood and

 3   behaviors that may contribute to learning deficits, including attention deficits, hyperactivity,

 4   autistic behaviors, conduct disorders, and delinquency.” (emphasis added). Likewise, the NIH

 5   states: “prenatal and early childhood exposure to heavy metals…may be linked to autism

 6   spectrum disorder.”

 7          82.     Such conclusions have likewise been reached by a consortium of the country’s

 8   leading epidemiologists, pediatricians, and medical groups, noting that Toxic Heavy Metals

 9   such as lead and mercury are “prime examples of toxic chemicals that can contribute to

10   learning, behavioral, or intellectual impairment, as well as specific neurodevelopmental

11   disorders such as ADHD or autism spectrum disorder.”

12          83.     Multiple studies, reviews, and meta-analyses conducted throughout various parts

13   of the world over the last decade have consistently observed that early life exposure to heavy

14   metals can cause brain injury and, specifically, brain injury which manifests as ASD.

15          84.     For example, four meta-analyses published in 2014, 2017, 2019 and 2020,

16   respectively, observed consistent associations between exposure to arsenic, cadmium, and

17   mercury and ASD in children; with the authors in all three studies recommending – based on

18   the data – that exposure to such metals in children be reduced as much as possible, and one of

19   the study authors specifically concluding that “Results of the current meta-analysis revealed that

20   mercury is an important causal factor in the etiology of ASD.”
21          85.     In a recent 2017 NIH-funded prospective observational study, the authors

22   examined the risk of ASD outcome in twins based on their respective body burden of lead. The

23   study concluded in no uncertain terms that “prenatal and early childhood disruption (excess or

24   deficiency) of multiple metals during critical developmental windows is associated with ASD,

25   and suggests a role for elemental dysregulation in the etiology of ASD.”

26          86.     Similarly, a large, prospective study from 2016 in Korean school children
27   observed that low levels of lead exposure in early life are associated with autism, the authors

28   specifically concluding: “even low blood lead concentrations…are associated with more autistic
                                                   - 24 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1       Filed 01/31/25      Page 25 of 50



 1   behaviors… underscoring the need for continued efforts to reduce lead exposure.”

 2          87.     Studies have repeatedly observed strong associations between exposure to

 3   cadmium and aluminum and neurodevelopmental disorders such as ASD, as observed by a

 4   recent study: “Environmental exposure to…cadmium (Cd)… and aluminum (Al) has been

 5   associated with neurodevelopmental disorders including autism spectrum disorder (ASD).” For

 6   example, a study from 2014 evaluated the body burden of lead, cadmium, and arsenic in

 7   children with autism compared to controls and noted that, in addition to lead and arsenic, “our

 8   study demonstrated elevation in the levels of…cadmium…in a child with autism,” while an

 9   earlier study noted that “autism may be associated with significant alterations of some rare

10   element concentrations, including Cd…” Such results have been confirmed by meta-analyses

11   which “show significant associations between ASD and the metals Al [and] Cd.” And, such

12   earlier data is further supported by recent research, with a 2023 systematic review and meta-

13   analysis concluding that “compared with the healthy control group, the ASD group had higher

14   concentrations of Cd, Pb, arsenic, and Hg. These 4 heavy metals play different roles in the

15   occurrence and progression of ASD.”

16          88.     Repeated associations between early life Toxic Heavy Metal exposure and ASD

17   have also been observed during the pre-natal timeframe, lending further strength to the findings

18   of post-natal studies. For example, in a 2021 study by Skogheim and colleagues, the authors

19   prospectively assessed the relationship between pre-natal metal exposure in various biomarkers

20   and autism risk. The study concluded that “[r]esults from the present study show several
21   associations between levels of metals and elements during gestation and ASD and ADHD in

22   children. The most notable ones involved arsenic…mercury…and lead. Our results suggest that

23   even population levels of these compounds may have negative impacts on neurodevelopment.”

24          89.     Similarly, in a study by the research group assessing the New Hampshire Birth

25   Cohort, the authors evaluated the neurotoxic effects of heavy metals during various stages of

26   pregnancy and concluded: “Our results support the hypothesis that exposure to…As in mid to
27   late pregnancy may be neurodevelopmentally harmful.”

28          90.     Such results have been replicated in studies throughout the world, including
                                                   - 25 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1          Filed 01/31/25   Page 26 of 50



 1   China, Korea, the U.S., Europe, and Egypt, implicating arsenic, mercury, and lead in pediatric

 2   diagnoses of autism and autistic behaviors, with a 2018 Chinese study concluding: “[t]he results

 3   of this study are consistent with numerous previous studies, supporting an important role for

 4   heavy metal exposure, particularly mercury, in the etiology of ASD.” Indeed, a 2015 Egyptian

 5   study noted “[e]nvironmental exposure to these toxic heavy metals, at key times in development,

 6   may play a causal role in autism.” (emphasis added).

 7          91.     Exposure to Toxic Heavy Metals, specifically lead, has also been repeatedly

 8   associated with the development of ADHD in children, as demonstrated by numerous studies.

 9          92.     No fewer than four large meta-analyses, conducted in four different continents

10   (North America, South America, Europe and Asia), and some employing a cross-sectional

11   design, have observed a consistent association between various metals and ADHD in children.

12   Indeed, the authors of the meta-analysis from Spain noted that “the evidence from the studies

13   allowed us to establish that there is an association between lead and ADHD and that even low

14   levels of lead raise the risk.” (emphasis added).

15          93.     The findings from the meta-analyses have been replicated in several Chinese

16   studies from 2006, 2014, and 2018, respectively. Notably, the authors of the 2014 Chinese

17   study observed that “[e]xposure to lead even at low levels correlates with attention-

18   deficit/hyperactivity disorder (ADHD). However, lead-contaminated environments are often

19   contaminated with other heavy metals that could exacerbate lead-induced ADHD.” (emphasis

20   added). This is particularly relevant—and disturbing—as children who consumed Defendants’
21   baby foods were repeatedly exposed to a cocktail of Toxic Heavy Metals that, synergistically,

22   further increased their risk of developing ADHD.

23          94.     Moreover, studies have observed a dose-response relationship between exposure

24   to Toxic Heavy Metals and ADHD, as demonstrated by the 2016 Spanish study Donzelli, et al.

25   Another 2016 cross-sectional study from Spain was conducted on 261 children aged 6-9 to

26   examine the association between exposure to arsenic and ADHD. After adjusting for potential
27   confounders, the authors observed a dose-response relationship between urine arsenic levels and

28   inattention and impulsivity scores, concluding that “[urine arsenic] levels were associated with
                                                   - 26 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1        Filed 01/31/25      Page 27 of 50



 1   impaired attention/cognitive function, even at levels considered safe. These results provide

 2   additional evidence that postnatal arsenic exposure impairs neurological function in children.”

 3   (emphasis added).

 4          95.     The fact that such results, and many more, have been observed in multiple

 5   studies, conducted by different researchers, at different times, in different parts of the world, in

 6   children of multiple ages, utilizing different study methods (prospective, case-control and cross-

 7   sectional epidemiological analyses) and measuring a variety of end-points (including hair,

 8   blood, and urine), strongly supports a causal relationship between exposure to Toxic Heavy

 9   Metals and the development of ASD and ADHD in children.

10   VII.   Defendants’ Baby Foods Contain Toxic Heavy Metals Capable of Interfering with
            Early Neurodevelopment
11

12          96.     As illustrated above, Toxic Heavy Metal exposure is capable of inflicting
13   damage to the developing brain at extremely low doses. And, upon information and belief,
14   Defendants manufactured and sold baby foods containing Toxic Heavy Metals that can, under
15   certain circumstances (based upon the genetic susceptibilities, medical history, and other factors
16   of the exposed child) interfere with a baby’s neurodevelopment sufficient to cause conditions
17   such as ASD and ADHD.
18          97.     As an initial matter, the study commissioned by HBBF and discussed above
19   specifically evaluated the propensity for arsenic exposure through consumption of infant rice
20   cereal to impact early life neurodevelopment. Following analyses of the levels of arsenic
21   exposure from consumption of infant rice cereal, the authors concluded “that high consumers of
22   infant rice cereal (i.e., infants eating three servings per day) eating products currently on the
23   U.S. market would have a daily arsenic intake of 0.35-0.67 µg/kg bw/day…per the Tsuji et al.
24   (2015) lower-bound estimate for an RfD for the neurodevelopmental effects of arsenic (0.4
25   µg/kg bw/day), high consumers of infant rice cereal may also be at risk for this endpoint. Even
26   in average consumers of infant rice cereal (i.e., one serving per day), our estimates of arsenic
27   intakes (0.15 to 0.29 µg/kg bw/day) leave little room for exposures to arsenic from other
28   sources.” Thus, consumption of Defendants’ baby foods, including but not limited to infant rice
                                                - 27 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25     Page 28 of 50



 1   cereal and rice-based snack baby food products manufactured and sold by Defendants can

 2   expose babies to levels of arsenic above that associated with neurodevelopmental harm in the

 3   scientific literature.

 4            98.     Defendants manufactured and sold baby food products that, with just a couple of

 5   servings, are capable of exposing a baby to lead levels at or above the 2.2 ug/day considered by

 6   the FDA to be associated with neurodevelopmental harm. Each source of lead exposure is

 7   cumulative—making any detectable amount of Toxic Heavy Metal in baby food a contributing

 8   factor to potential neurodevelopmental harm.

 9            99.     Similarly, upon information and belief, Defendant Hain was aware of the

10   neurotoxic propensities of lead, arsenic, and mercury at low levels, but proceeded to

11   manufacture and sell Baby Foods containing arsenic and lead levels that, upon information and

12   belief, Hain considered as capable of inflicting neurodevelopmental harm.

13   VIII. Defendants Knowingly Sold Baby Foods Containing Toxic Heavy Metals and Knew
           or Should Have Known of the Risks of Such Exposures in Children and Thus
14
           Breeched their Duty of Care in Selling Contaminated Baby Foods
15

16            100.    During the time that Defendants manufactured and sold baby foods in the United

17   States, the weight of evidence showed that Defendants’ baby foods exposed babies and children

18   to Toxic Heavy Metals. Defendants failed to disclose this risk to consumers through any

19   means.

20            101.    As discussed above, both independent testing, the Defendants’ internal

21   evaluations of their baby foods, and the Defendants’ representations and disclosures to

22   Congress and the FDA reveal the presence of Toxic Heavy Metals in Defendants’ products. As

23   such, Defendants knew or should have known that their baby foods contain Toxic Heavy Metals

24   with an attendant risk of causing neurodevelopmental harm.

25            102.    Indeed, independent testing performed in early 2019 demonstrated elevated

26   amounts of such Toxic Heavy Metals in Baby Food products on the U.S. market, and the HBBF

27   Report further confirmed such contamination of Defendants’ baby foods. And, as the

28   Congressional investigation found, the Defendants continued to sell their baby foods even after
                                                    - 28 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1        Filed 01/31/25      Page 29 of 50



 1   testing of both ingredients and finished products revealed the presence of Toxic Heavy Metals.

 2          103.    Moreover, the scientific literature on the dangers of Toxic Heavy Metals—

 3   particularly as it relates to adverse effects on the neurodevelopment of children—have been

 4   well known for decades. Defendants, as manufacturers and sellers of baby foods, are held to the

 5   standard of experts and responsible for keeping abreast of the latest scientific developments

 6   related are held to the dangers of contaminants in their products. Defendants failed to take

 7   action to protect vulnerable children from exposure to the Toxic Heavy Metals in their foods

 8   and, thus, subjected them to the risk of brain injury which can manifest as neurodevelopmental

 9   disorders such as ASD, ADHD, and related sequalae.

10          104.    To be clear, the Defendants are able to manufacture baby foods that do not pose

11   such a dangerous risk to the health of infants and children by using alternative ingredients, not

12   adding certain pre-mix minerals and vitamins high in Toxic Heavy Metals or sampling their

13   ingredients from other sources. At the very least, Defendants were under a duty to warn

14   unsuspecting parents of the presence of Toxic Heavy Metals in their Baby Foods.

15
     IX.    Defendants’ Baby Food Products Were Defective Due to Insufficient Warnings,
16          Manufacturing Defects, and/or Design Defects to the Extent the Baby Food
            Products Contained Detectable Levels of Toxic Heavy Metal
17

18          105.    All of Defendants’ baby food products that contained detectable levels of Toxic

19   Heavy Metals (or constituted finished products wherein the ingredients contained detectable

20   levels of Toxic Heavy Metals), assuming state of the art analytical testing, were defective as it

21   relates to warnings because no Defendant has ever warned about the presence of Toxic Heavy

22   Metals in their baby foods. Because discovery is ongoing, a complete list of Defendants’

23   specific baby foods that contained detectable levels of Toxic Heavy Metals is not known at this

24   time. Based on publicly available testing data, including data reported by HBBF and Congress,

25   the vast majority of Defendants’ products contain detectable levels of Toxic Heavy Metals in

26   them, rendering them each defective as it relates to warnings.

27          106.    Defendants’ baby food products are also defective as manufactured, as they

28   contain detectable Toxic Heavy Metals which are not supposed to be there, by design. Toxic
                                                    - 29 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1        Filed 01/31/25      Page 30 of 50



 1   Heavy Metals do not provide any nutritional or therapeutic value to infants or fully-grown

 2   humans. They are only poisonous to neurodevelopment. None of these baby food products, by

 3   design, should contain Toxic Heavy Metals in them and, thus, to the extent the products contain

 4   detectable levels of Toxic Heavy Metals in them, those are manufacturing defects. Based on

 5   publicly available data, most of Defendants’ baby food products contain some detectable levels

 6   of Toxic Heavy Metals in them.

 7          107.    If Defendants specifically designed their baby food products to contain Toxic

 8   Heavy Metals, meaning their presence was not the product of a manufacturing defect, then the

 9   products were defective by design. Toxic Heavy Metals should not be present in foods that are

10   being consumed by infants and products should be designed to not have detectable levels of

11   toxic heavy metal in them. Such designs are easily accomplished, by only using ingredients that

12   contain non-detectable levels of Toxic Heavy Metals and by testing finished products, before

13   release, to ensure they do not contain Toxic Heavy Metals within them. This is possible

14   because there are examples of Defendants’ finished products not containing detectable levels of

15   Toxic Heavy Metals—even if, for that same products, there are instances where they did. Thus,

16   Defendants were able to design baby food products to not contain detectable levels of toxic

17   heavy metals, and to the extent that each Defendants’ design contemplated there being

18   detectable levels of Toxic Heavy Metals in baby food, the design, itself, was defective.

19          108.    Whether the Defendants’ products were defective due to inadequate warnings,

20   manufacturing errors, or by design, the existing publicly available evidence indicates that
21   consumption of Defendants’ baby food products exposed Plaintiff to Toxic Heavy Metals, and

22   that Defendants’ baby food products contributed to Plaintiff’s Toxic Heavy Metal burden

23   during a critical period of infant neurodevelopment. Plaintiff, thus, alleges that this cumulative

24   exposure from Defendants’ products to Toxic Heavy Metals, substantially contributed to

25   causing neurodevelopmental harm that manifested as ASD. Moreover, Plaintiff alleges that had

26   these baby food products not been defective—by having sufficient warnings, being correctly
27   manufactured, and/or designed properly—Plaintiff would not have been exposed to levels of

28   Toxic Heavy Metals in Defendants’ baby food products that would have contributed to the
                                                - 30 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1       Filed 01/31/25      Page 31 of 50



 1   neurodevelopmental harm that manifested as ASD.

 2   X.     Exemplary / Punitive Damages Allegations

 3          109.    Defendants’ conduct as alleged herein was done with reckless disregard for

 4   human life, oppression, and malice. Defendants’ conduct is particularly reprehensible given

 5   that their toxic foods were directed at vulnerable babies—a population group far more

 6   susceptible than adults to the neurotoxic dangers of heavy metals.

 7          110.    Defendants were fully aware of the safety risks of Contaminated Baby Foods,

 8   particularly the dangerous potential of Toxic Heavy Metals on neurodevelopment in infants and

 9   children. Nonetheless, Defendants deliberately crafted their label, marketing, and promotion to

10   mislead consumers. Indeed, Defendants repeatedly market their baby foods as safe for

11   consumption and go so far as claiming that they adhere to “the strictest standards in the world;”

12   and provide “baby’s food full of nutrition while meeting standards strict enough for tiny

13   tummies,” as well as other statements and representations that hold out their baby foods as safe

14   for consumption by infants. Indeed, each Defendant falsely reassured

15   parents/guardians/caregivers that their baby foods would foster healthy neurodevelopment when

16   consumed even though they knew their baby foods exposed infants’ developing brains to potent

17   neurotoxic heavy metals. In actual fact, as discussed above, Defendants routinely sold

18   Contaminated Baby Foods, regularly flouted their own internal limits of Toxic Heavy Metals

19   and failed to disclose to consumers that their products contained such dangerous contaminants.

20          111.    This was not done by accident or through some justifiable negligence. Rather,
21   Defendants knew they could profit by convincing consumers that their baby foods were heathy

22   and safe for infants, and that full disclosure of presence and/or risks of the Toxic Heavy Metals

23   present in the baby foods would limit the amount of money Defendants would make selling the

24   products. Defendants’ object was accomplished not only through a misleading label, but

25   through a comprehensive scheme of selective misleading research and testing, failure to test,

26   false advertising, and deceptive omissions as more fully alleged throughout this Complaint.
27   Parents/guardians/caregivers were denied the right to make an informed decision about whether

28   to purchase Defendants’ baby food for their babies without knowing the full risks attendant to
                                                   - 31 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1         Filed 01/31/25    Page 32 of 50



 1   that use. Such conduct was done with conscious disregard of Plaintiffs’ welfare and rights.

 2                                  PLAINTIFF’S USE AND INJURY

 3          112.    Plaintiff was diagnosed with ASD at approximately 2.5 years of age.

 4          113.    Plaintiff consumed Baby Food products manufactured and/or sold by the

 5   Defendants.

 6          114.    Upon information and belief, the Baby Food products manufactured/marketed by

 7   Defendants and consumed by Plaintiff were all contaminated with substantial quantities of

 8   Toxic Heavy Metals.

 9          115.     Upon information and belief, as a direct and proximate result of consuming

10   Defendants’ Baby Foods, Plaintiff was exposed to substantial quantities of Toxic Heavy Metals.

11          116.    As a direct and proximate result of consuming Defendants’ Baby Foods and the

12   exposure to the Toxic Heavy Metals therein – Plaintiff suffered brain injury which manifested

13   as ASD and related sequalae.

14          117.    Based on prevailing scientific evidence, exposure to the Toxic Heavy Metals at

15   the levels contained in Defendants’ Baby Foods can cause brain injury which can manifest as

16   the neurodevelopmental disorders ASD and related sequalae in humans.

17          118.    Had any Defendant warned Plaintiff’s parents that Defendants’ Baby Foods

18   could lead to exposure to Toxic Heavy Metals or, in turn, brain injury, Plaintiff would not have

19   consumed the Baby Foods.

20          119.    Plaintiff alleges that as a direct and proximate result of Plaintiff’s consumption
21   of Baby Foods supplied and distributed by Defendants, Plaintiff suffered significant harm,

22   conscious pain and suffering, physical injury and bodily impairment including, but not limited

23   to brain injury which manifested as ASD and related sequelae.

24                                           CAUSES OF ACTION

25             COUNT I: STRICT PRODUCTS LIABILITY – FAILURE TO WARN

26          120.    Plaintiff incorporates by reference each allegation set forth in preceding
27   paragraphs as if fully stated herein.

28          121.    At all relevant times, Defendants engaged in the business of researching, testing,
                                                   - 32 -
                                             COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25       Page 33 of 50



 1   developing, designing, manufacturing, labeling, marketing, selling, inspecting, distributing, and

 2   promoting baby foods, which are defective and unreasonably dangerous to consumers,

 3   including Plaintiff, because they do not contain adequate warnings or instructions concerning

 4   the dangerous characteristics of baby foods in the form of the presence of Toxic Heavy Metals.

 5   These actions were under the ultimate control and supervision of Defendants. At all relevant

 6   times, Defendants registered, researched, manufactured, distributed, marketed, and sold baby

 7   foods and aimed at a consumer market.

 8          122.    Defendants researched, tested, developed, designed, manufactured, labeled,

 9   marketed, sold, inspected, distributed, and promoted, and otherwise released into the stream of

10   commerce their Contaminated Baby Foods, and in the course of same, directly advertised or

11   marketed the products to consumers and end users, including Plaintiff, and therefore had a duty

12   to warn about the presence of and risks associated with exposure to Toxic Heavy Metals from

13   the consumption of Contaminated Baby Foods.

14          123.    At all relevant times, Defendants had a duty to properly test, develop, design,

15   manufacture, inspect, package, label, market, promote, sell, and distribute, maintain, supply,

16   provide proper warnings, and take such steps as necessary to ensure their Contaminated Baby

17   Foods did not cause users and consumers to suffer from unreasonable and dangerous risks.

18   Defendants had a continuing duty to warn Plaintiff of dangers associated with exposure to

19   Toxic Heavy Metals from consumption of the Contaminated Baby Foods. Defendants, as a

20   manufacturer, seller, or distributor of food, are held to the knowledge of an expert in the field.
21          124.    At the time of manufacture, Defendants could have provided the warnings or

22   instructions regarding the full and complete risks of exposure to Toxic Heavy Metals in the

23   Contaminated Baby Foods because they knew or should have known of the unreasonable risks

24   of harm associated with the use of and/or exposure to such toxins.

25          125.    At all relevant times, Defendants failed and deliberately refused to investigate,

26   study, test, or promote the safety or to minimize the dangers to users and consumers of their
27   product and to those who would foreseeably use or be harmed by exposure to the Toxic Heavy

28   Metals in Defendants’ Baby Foods.
                                                     - 33 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1        Filed 01/31/25     Page 34 of 50



 1          126.    Even though Defendants knew or should have known that the presence of Toxic

 2   Heavy Metals in Contaminated Baby Foods posed a risk of harm, they failed to exercise

 3   reasonable care to warn of the dangerous risks associated with use and exposure to the toxins in

 4   the products. The neurotoxic characteristic of Toxic Heavy Metals contained in Defendants’

 5   Contaminated Baby Foods, as described above, were known to Defendants, or scientifically

 6   knowable to Defendants through appropriate research and testing by known methods, at the

 7   time they distributed, supplied, or sold the products, and were not known to end users and

 8   consumers, such as Plaintiff. The product warnings for Contaminated Baby Foods in effect

 9   during the time period Plaintiff consumed those foods were inadequate, both substantively and

10   graphically, to alert consumers to the presence of and health risks associated with exposure to

11   the Toxic Heavy Metals from Contaminated Baby Food consumption.

12          127.    At all relevant times, Defendants’ Contaminated Baby Foods reached the

13   intended consumers, handlers, and users or other persons coming into contact with these

14   products, including Plaintiff, without substantial change in their condition as manufactured,

15   sold, distributed, labeled, and marketed by Defendants.

16          128.    Plaintiff was exposed to the Toxic Heavy Metals in Defendants’ Contaminated

17   Baby Foods without knowledge of the potential for such exposure to Toxic Heavy Metals from

18   consumption of the products and the dangerous characteristics of the toxins.

19          129.    At all relevant times, Plaintiff was exposed to the Toxic Heavy Metals in the

20   Defendants’ Contaminated Baby Foods while consuming the foods for their intended or
21   reasonably foreseeable purposes, without knowledge of their dangerous characteristics.

22          130.    Plaintiff could not have reasonably discovered the defects and risks associated

23   with exposure to the Toxic Heavy Metals in the Contaminated Baby Foods prior to or at the

24   time of Plaintiff consuming those foods. Plaintiff relied upon the skill, superior knowledge, and

25   judgment of Defendants to know about and disclose serious health risks associated with

26   exposure to the toxins in Defendants’ products.
27          131.    The information that Defendants did provide or communicate failed to contain

28   relevant warnings, hazards, and precautions that would have enabled consumers such as
                                                   - 34 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1        Filed 01/31/25      Page 35 of 50



 1   Plaintiffs to avoid consuming the products and, in turn, exposure to the Toxic Heavy Metals.

 2   Instead, Defendants disseminated information that was inaccurate, false, and misleading, and

 3   which failed to communicate accurately or adequately the comparative severity, duration, and

 4   extent of the risk of injuries with use of and/or exposure to the Toxic Heavy Metals in the

 5   Contaminated Baby Foods; continued to aggressively promote the safety of their products, even

 6   after they knew or should have known of the unreasonable risks from use or exposure; and

 7   concealed, downplayed, or otherwise suppressed, through aggressive marketing and promotion,

 8   any information or research about the risks and dangers of exposure to Toxic Heavy Metals

 9   from consumption of Contaminated Baby Foods.

10          132.    This alleged failure to warn is not limited to the information contained on

11   Contaminated Baby Foods labeling. The Defendants were able, in accord with federal law, to

12   comply with relevant state law by disclosing the known risks associated with exposure to Heavy

13   Metals in Contaminated Baby Foods through other non-labeling mediums, i.e., promotion,

14   advertisements, public service announcements, and/or public information sources. But the

15   Defendants did not disclose these known risks through any medium. The ability to provide such

16   warnings is not prohibited by any federal law.

17          133.    Furthermore, Defendants possess a First Amendment Right to make truthful

18   statements about the products they sell, and no law could lawfully restrict that constitutional

19   right. This included making statements about the presence of and risks associated with Toxic

20   Heavy Metals in Contaminated Baby Foods.
21          134.    Had Defendants provided adequate warnings and instructions and properly

22   disclosed and disseminated the risks associated with exposure to the toxins in their

23   Contaminated Baby Foods, Plaintiffs could have avoided the risk of developing injuries and

24   could have obtained or used alternative products. However, as a result of Defendants’

25   concealment of the dangers posed by the Toxic Heavy Metals in their Contaminated Baby

26   Foods, Plaintiff could not have averted their exposures.
27          135.    Defendants’ conduct, as described above, was reckless. Defendants risked the

28   lives of babies and children, including Plaintiff, with knowledge of the safety problems
                                                     - 35 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1         Filed 01/31/25       Page 36 of 50



 1   associated with Contaminated Baby Foods, and suppressed this knowledge from the general

 2   public. Defendants made conscious decisions not to warn or inform the unsuspecting public.

 3          136.    The Defendants’ lack of adequate warnings and instructions accompanying their

 4   Contaminated Baby Foods caused Plaintiff’s injuries.

 5          137.    As a direct and proximate result of the Defendants’ failure to provide an

 6   adequate warning of the risks of exposure to the Toxic Heavy Metals in their Contaminated

 7   Baby Foods, Plaintiff has been injured, sustained severe and permanent pain, suffering,

 8   disability, impairment, loss of enjoyment of life, economic loss and damages including, but not

 9   limited to past and future medical expenses, lost income, and other damages.

10          138.    WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

11   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

12   all such other and further relief as this Court deems just and proper.

13        COUNT II: STRICT PRODUCTS LIABILITY – MANUFACTURING DEFECT

14          139.    Plaintiff incorporates by reference each allegation set forth in preceding

15   paragraphs as if fully stated herein.

16          140.    At all times herein mentioned, Defendants designed, manufactured, tested,

17   marketed, sold, handled, and distributed the Contaminated Baby Foods consumed by Plaintiff.

18          141.    At all relevant times, the Contaminated Baby Foods consumed by Plaintiff were

19   expected to and did reach Plaintiff without a substantial change in their condition as

20   manufactured, handled, distributed, and sold by Defendants.
21          142.    At all relevant times, the Contaminated Baby Foods consumed by Plaintiff were

22   used in a manner that was foreseeable and intended by Defendants.

23          143.    The Contaminated Baby Foods consumed by Plaintiff were not reasonably safe

24   for their intended use and were defective with respect to their manufacture, as described herein,

25   in that Defendants deviated materially from their design and manufacturing specifications

26   and/or such design and manufacture posed an unreasonable risk of harm to Plaintiffs. 1 Baby
27   1
      If, through discovery and further litigation, it is discovered that Defendants’ baby food
     products contained detectable levels of Toxic Heavy Metals by design, then Plaintiff will
28   pursue a design defect claim (Count III) in the alternative.
                                                      - 36 -
                                             COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1        Filed 01/31/25        Page 37 of 50



 1   food should not, by design, contain any detectable levels of Toxic Heavy Metals in them. Thus,

 2   Defendants’ Contaminated Baby Foods contain manufacturing defects.

 3          144.    The Defendants’ Contaminated Baby Foods contained Toxic Heavy Metals

 4   because, while in the control and possession of Defendants, they manufactured ingredients and

 5   used manufacturing processes that result in the finished product being contaminated with Toxic

 6   Heavy Metals. Had Defendants properly manufactured (directly or through co-manufacturers)

 7   the baby foods, they would not have contained detectable levels of Toxic Heavy Metals in them

 8   and, thus, would not have contained a manufacturing defect.

 9          145.    Nothing under federal law limited or restricted Defendants from taking action to

10   reduce or eliminate the Toxic Heavy Metals from being present in their baby foods.

11          146.     This manufacturing defect caused Plaintiff to be exposed to Toxic Heavy Metals

12   through ingestion of the Contaminated Baby Foods which, in turn, caused neurodevelopmental

13   harm that manifested as ASD.

14          147.    The exposure to the Toxic Heavy Metals in the Contaminated Baby Foods

15   creates risks to the health and safety of babies that are far more significant than the risks posed

16   by non- Contaminated Baby Food products, and which far outweigh the utility of the

17   Contaminated Baby Foods products because of Defendants’ manufacturing defects.

18          148.    Defendants have intentionally and recklessly manufactured the Contaminated

19   Baby Foods with wanton and willful disregard for the rights and health of Plaintiff, and with

20   malice, placing their economic interests above the health and safety of Plaintiff.
21          149.    As a direct and proximate result of the Defendants’ defective manufacture of the

22   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

23   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

24   including, but not limited to medical expenses, lost income, and other damages.

25          150.    WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

26   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and
27   all such other and further relief as this Court deems just and proper.

28              COUNT III: STRICT PRODUCTS LIABILITY – DESIGN DEFECT
                                        - 37 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1         Filed 01/31/25    Page 38 of 50



 1          151.    Plaintiff incorporates by reference each allegation set forth in preceding

 2   paragraphs as if fully stated herein.

 3          152.    At all times herein mentioned, Defendants designed, manufactured, tested,

 4   marketed, sold, handled, and distributed the Contaminated Baby Foods consumed by Plaintiff.

 5   These actions were under the ultimate control and supervision of Defendants.

 6          153.     At all relevant times, Defendants’ Baby Food products were designed and

 7   labeled in an unsafe, defective, and inherently dangerous manner that was dangerous for use or

 8   consumption by infants and babies, including Plaintiff.

 9          154.    Defendants’ Contaminated Baby Food products as researched, tested, developed,

10   designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed by

11   Defendants were defective in design and formulation in that, when they were placed into the

12   stream of commerce, they were unreasonably dangerous and dangerous to an extent beyond that

13   which an ordinary consumer would contemplate.

14          155.    Defendants’ Contaminated Baby Food products, as researched, tested,

15   developed, designed, licensed, manufactured, packaged, labeled, distributed, sold, and marketed

16   by Defendants were defective in design and formulation in that, when they left the hands of

17   Defendants, the foreseeable risks exceeded the alleged benefits associated with their design and

18   formulation.

19          156.    At all relevant times, the Contaminated Baby Food products consumed by

20   Plaintiff were expected to and did reach Plaintiff without a substantial change in its condition as
21   designed, manufactured, handled, distributed, and sold by Defendants.

22          157.    At all relevant times, Defendants knew or had reason to know that their

23   Contaminated Baby Food products were defective and were inherently dangerous and unsafe

24   when used in the manner instructed and provided by Defendants.

25          158.    Therefore, at all relevant times, Defendants’ Baby Food products, as researched,

26   tested, developed, designed, registered, licensed, manufactured, packaged, labeled, distributed,
27   sold and marketed by Defendants were defective in design and formulation, in one or more of

28   the following ways:
                                                      - 38 -
                                             COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC             Document 1        Filed 01/31/25      Page 39 of 50



 1                      1.     When placed in the stream of commerce, Defendants’ Contaminated

 2   Baby Food products were unreasonably dangerous in that they contained Toxic Heavy Metals

 3   that posed a risk of causing interference with neurodevelopment in babies that manifests as the

 4   neurodevelopmental disorders ASD, ADHD and related sequalae when used in a reasonably

 5   anticipated manner;

 6                      2.     When placed in the stream of commerce, Defendants’ designed

 7   Contaminated Baby Food products to contain unreasonably dangerous design defects and were

 8   not reasonably safe when used in a reasonably anticipated or intended manner;

 9                      3.     Defendants, by design, did not sufficiently test, investigate, or study their

10   Contaminated Baby Food products;

11                      4.     Exposure to the Toxic Heavy Metals in Defendants’ Contaminated Baby

12   Food products present a risk of harmful effects that outweigh any potential utility stemming

13   from their use;

14                      5.     Defendants, by design, did not conduct adequate post-marketing

15   surveillance of their Contaminated Baby Food products which would have alerted the public to

16   risks; and

17                      6.     Defendants could have employed safer alternative designs and

18   formulations for Contaminated Baby Foods, such as ensuring the baby food did not have any

19   detectable level of Toxic Heavy Metals.

20           159.       Plaintiff consumed Defendants’ Contaminated Baby Food products in an
21   intended or reasonably foreseeable manner without knowledge of their dangerous

22   characteristics.

23           160.       Defendants’ Contaminated Baby Food products were and are more dangerous

24   than alternative products, and Defendants could have designed their Contaminated Baby Food

25   products to avoid harm to children. Indeed, at the time Defendants designed the Contaminated

26   Baby Food products, the state of the industry’s scientific knowledge was such that a less risky
27   design or formulation was attainable.

28           161.       At the time the Contaminated Baby Food products left Defendants’ control, there
                                                      - 39 -
                                             COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC            Document 1        Filed 01/31/25       Page 40 of 50



 1   was a practical, technically feasible, and safer alternative design that would have prevented the

 2   harm without substantially impairing the reasonably anticipated or intended function of

 3   Defendants’ Contaminated Baby Foods.

 4           162.    Defendants intentionally and recklessly defectively designed the Contaminated

 5   Baby Foods with wanton and willful disregard for the rights and health of Plaintiff, and with

 6   malice, placing their economic interests above the health and safety of Plaintiff.

 7           163.    The design defects in Defendants’ Contaminated Baby Foods were substantial

 8   factors in causing Plaintiff’s injuries.

 9           164.    As a direct and proximate result of the Defendants’ defective design of the

10   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

11   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

12   including, but not limited to medical expenses, lost income, and other damages.

13           165.    WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

14   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

15   all such other and further relief as this Court deems just and proper.

16                        COUNT IV: NEGLIGENCE – FAILURE TO WARN

17           166.    Plaintiff incorporates by reference each allegation set forth in preceding

18   paragraphs as if fully stated herein.

19           167.    At all relevant times, Defendants engaged in the business of testing, developing,

20   designing, manufacturing, marketing, selling, distributing, and promoting baby foods.
21   Defendants knew, or, by the exercise of reasonable care, should have known that their

22   Contaminated Baby Foods are not accompanied with adequate warnings concerning the

23   dangerous characteristics of exposure to Toxic Heavy Metals from consumption. These actions

24   were under the ultimate control and supervision of Defendants.

25           168.    Defendants researched, developed, designed, tested, manufactured, inspected,

26   labeled, distributed, marketed, promoted, sold, and otherwise released into the stream of
27   commerce their Contaminated Baby Foods, and in the course of same, directly advertised or

28   marketed the products to consumers and end users, including Plaintiff, and therefore had a duty
                                                 - 40 -
                                             COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1       Filed 01/31/25      Page 41 of 50



 1   to warn of the risks associated with the presence of and exposure to Toxic Heavy Metals from

 2   consumption of Contaminated Baby Foods.

 3           169.   At all relevant times, Defendants had a duty to properly test, develop, design,

 4   manufacture, inspect, package, label, market, promote, sell, distribute, maintain, supply, provide

 5   proper warnings, and take such steps as necessary to ensure their Contaminated Baby Foods did

 6   not cause users and consumers to suffer from unreasonable and dangerous risks. Defendants

 7   had a continuing duty to warn Plaintiff of dangers associated with the presence of and exposure

 8   to Toxic Heavy Metals from consumption of Contaminated Baby Foods. Defendants, as a

 9   manufacturer, seller, or distributor of food products, are held to the knowledge of an expert in

10   the field.

11           170.   At the time of manufacture, Defendants could have provided warnings regarding

12   the presence of and risks of exposure to Toxic Heavy Metals from consumption of

13   Contaminated Baby Foods because they knew or should have known exposure to Toxic Heavy

14   Metals from consumption of Contaminated Baby Foods was dangerous, harmful and injurious

15   when the Contaminated Baby Foods were consumed by Plaintiff in a reasonably foreseeable

16   manner.

17           171.   At all relevant times, Defendants failed and deliberately refused to investigate,

18   study, test, or promote the safety or to minimize the dangers to users and consumers of their

19   products and to those who would foreseeably use or be harmed by Defendants’ Contaminated

20   Baby Foods.
21           172.   Defendants knew or should have known that exposure to Toxic Heavy Metals

22   from consumption of Contaminated Baby Foods posed a risk of harm, but failed to exercise

23   reasonable care to warn of the dangerous risks associated with use and exposure to the toxins in

24   the products. The dangerous propensities of exposure to Toxic Heavy Metals from consumption

25   of the Contaminated Baby Foods, as described above, were known to Defendants, or

26   scientifically knowable to Defendants through appropriate research and testing by known
27   methods, at the time they distributed, supplied, or sold the products, and were not known to end

28   users and consumers, such as Plaintiff.
                                                    - 41 -
                                         COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25      Page 42 of 50



 1            173.   At all relevant times, Plaintiff was exposed to Toxic Heavy Metals through

 2   consumption of the Contaminated Baby Foods while using the products for their intended or

 3   reasonably foreseeable purposes, without knowledge of their dangerous characteristics.

 4            174.   Defendants knew or should have known that the non-extant warnings

 5   disseminated with their Contaminated Baby Foods were inadequate, failed to communicate

 6   adequate information on the presence of and dangers of exposure to toxins contained therein,

 7   and failed to communicate warnings and instructions that were appropriate and adequate to

 8   render the products safe for their ordinary, intended and reasonably foreseeable uses.

 9            175.   The information that Defendants did provide or communicate failed to contain

10   relevant warnings, hazards, and precautions that would have enabled consumers such as

11   Plaintiffs to avoid using the product and, in turn, prevented exposure to the Toxic Heavy Metals

12   contained therein. Instead, Defendants disseminated information that was inaccurate, false, and

13   misleading, and which failed to communicate accurately or adequately the comparative severity,

14   duration, and extent of the risk of injuries with use of and/or exposure to the Toxic Heavy

15   Metals in the Contaminated Baby Foods; continued to aggressively promote the efficacy of their

16   products, even after they knew or should have known of the unreasonable risks from use or

17   exposure to the toxins contained therein; and concealed, downplayed, or otherwise suppressed,

18   through aggressive marketing and promotion, any information or research about the risks and

19   dangers of exposure to Toxic Heavy Metals from consumption of the Contaminated Baby

20   Foods.
21            176.   A reasonable company under the same or similar circumstance would have

22   warned and instructed of the dangers of exposure to Toxic Heavy Metals from consumption of

23   Contaminated Baby Foods.

24            177.   This alleged failure to warn is not limited to the information contained on the

25   labeling of Defendants’ Contaminated Baby Foods. Defendants were able, in accord with

26   federal law, to comply with relevant state law by disclosing the known risks associated with
27   exposure to Toxic Heavy Metals from consumption of Contaminated Baby Foods through other

28   non-labeling mediums, i.e., promotion, advertisements, public service announcements, and/or
                                                   - 42 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC            Document 1       Filed 01/31/25        Page 43 of 50



 1   public information sources. But the Defendants did not disclose these known risks through any

 2   medium.

 3             178.   Furthermore, Defendants possess a First Amendment Right to make truthful

 4   statements about the products they sell, and no law could lawfully restrict that constitutional

 5   right.

 6             179.   Had Defendants provided adequate warnings and instructions and properly

 7   disclosed and disseminated the risks associated with the presence of and exposure to Toxic

 8   Heavy Metals in the Contaminated Baby Foods, Plaintiff could have avoided the risk of

 9   developing injuries and could have obtained or used alternative products. However, as a result

10   of Defendants’ concealment of the dangers posed by their Contaminated Baby Foods, Plaintiff

11   could not have averted their injuries.

12             180.   Defendants’ conduct, as described above, was reckless. Defendants risked the

13   lives of consumers and users of their products, including Plaintiff, with knowledge of the safety

14   problems associated with Contaminated Baby Foods, and suppressed this knowledge from the

15   general public. Defendants made conscious decisions not to warn or inform the unsuspecting

16   public.

17             181.   The Defendants’ lack of adequate warnings and instructions accompanying their

18   Contaminated Baby Foods were a substantial factor in causing Plaintiff’s injuries.

19             182.   As a direct and proximate result of the Defendants’ failure to provide an

20   adequate warning of the risks of exposure to Toxic Heavy Metals from consumption of
21   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

22   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

23   including, but not limited to past and future medical expenses, lost income, and other damages.

24             183.   WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

25   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

26   all such other and further relief as this Court deems just and proper.
27                         COUNT V: NEGLIGENCE – MANUFACTURING

28             184.   Plaintiff incorporates by reference each allegation set forth in preceding
                                                      - 43 -
                                           COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1         Filed 01/31/25    Page 44 of 50



 1   paragraphs as if fully stated herein.

 2          185.      At all relevant times, the Defendants manufactured, tested, marketed, sold, and

 3   distributed the Contaminated Baby Foods that Plaintiff consumed.

 4          186.      The Defendants had a duty to exercise reasonable care, in the manufacturing,

 5   testing, marketing, sale, and distribution of baby foods.

 6          187.      The Defendants knew or, by the exercise of reasonable care, should have known,

 7   that exposure to Toxic Heavy Metals from consumption of Contaminated Baby Foods rendered

 8   the foods carelessly manufactured, dangerous, harmful and injurious when used by Plaintiff in a

 9   reasonably foreseeable manner.

10          188.      The Defendants knew or, by the exercise of reasonable care, should have known,

11   ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

12   exposure to Toxic Heavy Metals from consumption of Contaminated Baby Foods.

13          189.      Without limitation, examples of the manner in which Defendants breached their

14   duty to exercise reasonable care in manufacturing Contaminated Baby Foods, included:

15                    1.     Failure to adequately inspect/test the Contaminated Baby Foods, and

16   their ingredients, during and after the manufacturing process;

17                    2.     Failure to implement procedures that would reduce or eliminate Toxic

18   Heavy Metals in baby foods;

19                    3.     Failure to investigate suppliers and ingredient sources to reduce and

20   eliminate the risk of ingredients containing Toxic Heavy Metals; and
21                    4.     Failure to avoid using ingredients free from, or which contain far less,

22   Toxic Heavy Metals to manufacture baby food.

23          190.      A reasonable manufacturer under the same or similar circumstances would have

24   implemented appropriate manufacturing procedures to better ensure the quality and safety of

25   their product.

26          191.      Plaintiff was harmed directly and proximately by the Defendants’ failure to use
27   reasonable care in the manufacture of their Contaminated Baby Foods. Such harm includes

28   exposure to Toxic Heavy Metals, which can cause or contribute to interference with early
                                                - 44 -
                                             COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC            Document 1        Filed 01/31/25       Page 45 of 50



 1   neurodevelopment which manifests as ASD and related sequalae.

 2             192.   Defendants’ improper manufacturing of Baby Foods was willful, wanton,

 3   malicious, and conducted with reckless disregard for the health and safety of users of the

 4   Contaminated Baby Foods, including Plaintiff.

 5             193.   The defects in Defendants’ Contaminated Baby Foods were substantial factors in

 6   causing Plaintiff’s injuries.

 7             194.   As a direct and proximate result of the Defendants’ improper manufacturing of

 8   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

 9   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

10   including, but not limited to past and future medical expenses, lost income, and other damages.

11             195.   WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

12   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

13   all such other and further relief as this Court deems just and proper.

14                         COUNT VI: NEGLIGENCE – PRODUCT DESIGN

15             196.   Plaintiff incorporates by reference each allegation set forth in preceding

16   paragraphs as if fully stated herein.

17             197.   Defendants knew or, by the exercise of reasonable care, should have known,

18   ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of

19   Contaminated Baby Foods.

20             198.   The Defendants owed a duty to all reasonably foreseeable users to design a safe
21   product.

22             199.   The Defendants breached their duty by failing to use reasonable care in the

23   design of Contaminated Baby Foods because the products exposed babies to Toxic Heavy

24   Metals.

25             200.   The Defendants breached their duty by failing to use reasonable care in the

26   design of Contaminated Baby Foods by negligently designing the foods with ingredients and/or
27   components contaminated with Toxic Heavy Metals.

28             201.   The Defendants breached their duty by failing to use reasonable care in the
                                                    - 45 -
                                             COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC             Document 1        Filed 01/31/25      Page 46 of 50



 1   design of Contaminated Baby Foods by negligently designing and formulation, in one or more

 2   of the following ways:

 3                   1.        When placed in the stream of commerce, Defendants’ Contaminated

 4   Baby Foods were defective in design and formulation, and, consequently, dangerous to an

 5   extent beyond that which an ordinary consumer would contemplate;

 6                   2.        When placed in the stream of commerce, Defendants’ Contaminated

 7   Baby Foods were unreasonably dangerous in that they were hazardous and posed a risk of

 8   neurodevelopmental disorders and other serious illnesses when used in a reasonably anticipated

 9   manner;

10                   3.        When placed in the stream of commerce, Defendants’ Contaminated

11   Baby Foods contained unreasonably dangerous design defects and were not reasonably safe

12   when used in a reasonably anticipated or intended manner;

13                   4.        Defendants did not sufficiently test, investigate, or study their

14   Contaminated Baby Foods and, specifically, the content of Toxic Heavy Metals in the

15   ingredients used to manufacture the foods and/or the finished products;

16                   5.        Defendants did not sufficiently test, investigate, or study their

17   Contaminated Baby Foods and, specifically, the ability for those foods to expose babies to

18   Toxic Heavy Metals; and

19                   6.        Exposure to the Toxic Heavy Metals in Contaminated Baby Foods

20   presents a risk of harmful effects that outweigh any potential utility stemming from the use of
21   the products;

22           202.    Defendants knew or should have known at the time of marketing Contaminated

23   Baby Foods that exposure to Toxic Heavy Metals contained in the Baby Foods could result in

24   interference with early neurodevelopment that that manifests as ASD, ADHD and other severe

25   illnesses and injuries.

26           203.    Defendants, by design, did not conduct adequate post-marketing surveillance of
27   their Contaminated Baby Foods.

28           204.    Defendants could have employed safer alternative designs and formulations. For
                                                 - 46 -
                                             COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25         Page 47 of 50



 1   example, the Defendants could have avoided use of certain ingredients contaminated with Toxic

 2   Heavy Metals, avoided using pre-mix vitamins contaminated with Toxic Heavy Metals, and/or

 3   sampled their ingredients from other sources.

 4            205.   The Defendants breached their duty by failing to use reasonable care by failing

 5   to use cost effective, reasonably feasible alternative designs. There was a practical, technically

 6   feasible, and safer alternative design that would have prevented the harm without substantially

 7   impairing the reasonably anticipated or intended function of Defendants’ Contaminated Baby

 8   Foods.

 9            206.   A reasonable company under the same or similar circumstances would have

10   designed a safer product.

11            207.   Plaintiff was harmed directly and proximately by the Defendants’ failure to use

12   reasonable care in the design of their Contaminated Baby Foods. Such harm includes exposure

13   to Toxic Heavy Metals, which can cause or contribute to interference with neurodevelopment

14   that manifests as ASD and related sequalae.

15            208.   Defendants’ defective design of Contaminated Baby Foods was willful, wanton,

16   malicious, and conducted with reckless disregard for the health and safety of consumers of the

17   Baby Foods, including Plaintiff.

18            209.   The defects in Defendants’ Contaminated Baby Foods were substantial factors in

19   causing Plaintiff’s injuries.

20            210.   As a direct and proximate result of the Defendants’ negligent design of the
21   Contaminated Baby Foods, Plaintiff has been injured, sustained severe and permanent pain,

22   suffering, disability, impairment, loss of enjoyment of life, economic loss and damages

23   including, but not limited to past and future medical expenses, lost income, and other damages.

24            211.   WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

25   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

26   all such other and further relief as this Court deems just and proper.
27                               COUNT VII: GENERAL NEGLIGENCE

28            212.   Plaintiff incorporates by reference each allegation set forth in preceding
                                                     - 47 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC             Document 1       Filed 01/31/25   Page 48 of 50



 1   paragraphs as if fully stated herein.

 2          213.    Plaintiff pleads claims for negligence under all theories that may be actionable

 3   under any applicable state laws.

 4          214.    Defendants owed Plaintiff a duty to act with reasonable care.

 5                  1.      Defendants owed a duty because they distributed and promoted their

 6   products as safe for children to consume.

 7                  2.      Defendants owed a duty because their conduct created a risk of harm to

 8   Plaintiffs and caused Plaintiff actual harm.

 9                  3.      Defendants owed a duty because the risk of harm to Plaintiff was

10   embedded in, and an inherent component of, their negligent business practices.

11                  4.      Defendants owed a duty because they designed, manufactured,

12   controlled, distributed, and sold their products to Plaintiff.

13          215.    Defendants breached their duty to Plaintiff.

14          216.    Defendants’ negligence includes, but is not limited to, their marketing,

15   designing, manufacturing, producing, supplying, inspecting, testing, selling and/or distributing

16   Contaminated Baby Foods in one or more of the following respects:

17                  1.      Failure to implement procedures that would reduce or eliminate Toxic

18   Heavy Metals in baby foods;

19                  2.      Failure to investigate suppliers and ingredient sources to reduce and

20   eliminate the risk of ingredients containing Toxic Heavy Metals; and
21                  3.      Failure to avoid using ingredients free from, or which contain far less,

22   Toxic Heavy Metals to manufacture baby food.

23                  4.      When placed in the stream of commerce, Defendants’ Contaminated

24   Baby Foods were defective in design and formulation, and, consequently, dangerous to an

25   extent beyond that which an ordinary consumer would contemplate;

26                  5.      When placed in the stream of commerce, Defendants’ Contaminated
27   Baby Foods were unreasonably dangerous in that they were hazardous and posed a risk of

28   neurodevelopmental disorders and other serious illnesses when used in a reasonably anticipated
                                                 - 48 -
                                             COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC          Document 1        Filed 01/31/25      Page 49 of 50



 1   manner;

 2                   6.     When placed in the stream of commerce, Defendants’ Contaminated

 3   Baby Foods contained unreasonably dangerous design defects and were not reasonably safe

 4   when used in a reasonably anticipated or intended manner;

 5                   7.     Defendants, by design, did not conduct adequate post-marketing

 6   surveillance of their Contaminated Baby Food products which would have alerted the public to

 7   risks; and

 8                   8.     Defendants did not sufficiently test, investigate, or study their

 9   Contaminated Baby Foods and, specifically, the ability for those foods to expose babies to

10   Toxic Heavy Metals;

11                   9.     Defendants could have employed safer alternative designs and

12   formulations for Contaminated Baby Foods, such as ensuring the baby food did not have any

13   detectable level of Toxic Heavy Metal.

14                   10.    Defendants did not sufficiently test, investigate, or study their

15   Contaminated Baby Foods and, specifically, the content of Toxic Heavy Metals in the

16   ingredients used to manufacture the foods and/or the finished products; and

17                   11.    Exposure to the Toxic Heavy Metals in Contaminated Baby Foods

18   presents a risk of harmful effects that outweigh any potential utility stemming from the use of

19   the products;

20          217.     Defendants knew or should have known that their products contained detectable
21   levels of heavy metals that created an unreasonable risk of harm to children who consumed their

22   products.

23          218.     At all relevant times, the Defendants knew or should have known that the

24   Products were unreasonably dangerous and defective when put to their reasonably anticipated

25   use.

26          219.     As a proximate result of Defendants’ negligence, Plaintiff has been injured,
27   sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of

28   life, economic loss, and damages including, but not limited to past and future medical expenses,
                                                   - 49 -
                                          COMPLAINT AND JURY DEMAND
     Case 3:25-cv-01047-JSC           Document 1       Filed 01/31/25         Page 50 of 50



 1   lost income, and other damages.

 2          220.    WHEREFORE, Plaintiff respectfully requests this Court enter judgment in

 3   Plaintiff’s favor for damages, together with interest, costs herein incurred, attorneys’ fees and

 4   all such other and further relief as this Court deems just and proper.

 5                                       JURY TRIAL DEMAND

 6          221.    Plaintiff demands a trial by jury on all the triable issues within this pleading.

 7                                       PRAYER FOR RELIEF

 8          222.    WHEREFORE, Plaintiff requests that the Court enter judgment in Plaintiff’s

 9   favor and against the Defendants for:

10                  a. actual or compensatory damages in such amount to be determined at trial and

11                      as provided by applicable law;

12                  b. exemplary and punitive damages sufficient to punish and deter the

13                      Defendants and others from future wrongful practices;

14                  c. pre-judgment and post-judgment interest;

15                  d. costs including reasonable attorneys’ fees, court costs, and other litigation

16                      expenses; and

17                  e. any other relief the Court may deem just and proper.

18                                                 Respectfully submitted,
19   Dated: January 31, 2025                       WISNER BAUM, LLP

20                                                  /s/Mayra Maturana
                                                   Mayra Maturana (SBN: 346539)
21                                                 mmaturana@wisnerbaum.com
                                                   Pedram Esfandiary, Esq. (SBN 312569)
22
                                                   pesfandiary@wisnerbaum.com
23                                                 R. Brent Wisner, Esq. (SBN: 276023)
                                                   rbwisner@wisnerbaum.com
24                                                 Monique Alarcon, Esq. (SBN: 311650)
                                                   malarcon@wisnerbaum.com
25                                                 11111 Santa Monica Blvd., Suite 1750
                                                   Los Angeles, CA 90025
26
                                                   Tel: (310) 207-3233
27                                                 Fax: (310) 820-7444

28                                                 Attorneys for Plaintiff
                                                    - 50 -
                                          COMPLAINT AND JURY DEMAND
